    Case 2:25-cv-00054-DLC          Document 34-2    Filed 07/11/25    Page 1 of 130



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


EVA LIGHTHISER; et al.                              Case No: CV-25-54-BU-DLC
                   Plaintiffs,
                                               DECLARATION OF MICHAEL S.
        v.                                             SAWYER

DONALD J. TRUMP, in his official
capacity as President of the United
States; et al.
                       Defendants.


        I, Michael S. Sawyer, hereby declare as follows:

        1.    I am one of the attorneys of record for the Defendants in the above-

captioned action.

        2.    In June 2024, the Bureau of Land Management (BLM) began planning

its lease sales for the first quarter of 2025. Attached as Exhibit A is a true and correct

copy of a sample scoping letter showing when this planning process started. BLM

Montana/Dakotas State Office, Dear Reader Letter for Quarter 1, 2025 Lease Sale

(June          26,         2024),          which          is          available         at

https://eplanning.blm.gov/public_projects/2032675/200620104/20114331/2510143

14/30-day%20Scoping%20Dear%20Reader%20Letter_signed.pdf.

        3.    On March 7, 2025, the Office of Surface Mining Reclamation and

Enforcement published a Record of Decision for the Spring Creek Mine Mining Plan

Modification for Federal Coal Leases MTM 94378 and MTM 110693. Attached as
    Case 2:25-cv-00054-DLC              Document 34-2    Filed 07/11/25   Page 2 of 130



Exhibit      B     is   a   that   Record      of   Decision,   which     is   available   at

https://www.osmre.gov/sites/default/files/inline-files/20250307-

SpringCreek_ROD_Signed_1.pdf. The Project Timeline states that the Mining Plan

Modification was originally approved in 2012 and again in 2016. Ex. B, at 5.

        4.        The Environmental Protection Agency publishes a Global Greenhouse

Gas Overview on its website. Attached as Exhibit C is a copy of that overview,

which is available at https://www.epa.gov/ghgemissions/global-greenhouse-gas-

overview.

        5.        On July 7, 2025, the Department of Energy published a Resource

Adequacy Report on Evaluating the Reliability and Security of the United States

Electric Grid. Attached as Exhibit D is a copy of that Resource Adequacy Report,

which        is     available      at      https://www.energy.gov/sites/default/files/2025-

07/DOE%20Final%20EO%20Report%20%28FINAL%20JULY%207%29.pdf.

The Report states that Power Plant “Retirements Plus Load Growth Increase Risk of

Power Outages by 100x in 2030.” Ex. D, at 1.

        6.        On June 5, 2025, the National Oceanic Atmospheric Organization

updated its webpage on Monthly Average Mauna Loa CO2. Attached as Exhibit E

is a copy of that update, which is available at https://gml.noaa.gov/ccgg/trends/.

        7.        On February 6, 2025, the National Aeronautics and Space

Administration updated its webpage on climate change. Attached as Exhibit F is a

copy of that website, which is available at https://science.nasa.gov/climate-change/.
    Case 2:25-cv-00054-DLC       Document 34-2   Filed 07/11/25    Page 3 of 130



      I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct.


      Executed this 11th date of July, 2025, in Washington, D.C.

                                            /s/ Michael S. Sawyer
                                            Michael S. Sawyer
                                            Senior Trial Attorney
                                            Natural Resources Section
                                            P.O. Box 7611
                                            Washington, DC 20044-7611
                                            Tel: (202) 514-5273 (Sawyer)
                                            michael.sawyer@usdoj.gov

                                            Attorney for Defendants
Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 4 of 130




                         EXHIBIT A
     Case 2:25-cv-00054-DLC         Document 34-2        Filed 07/11/25     Page 5 of 130




                              United States Department of the Interior
                                BUREAU OF LAND MANAGEMENT
                                    Montana/Dakotas State Office
                                         5001 Southgate Drive
                                        Billings, Montana 59101
                                 http://www.blm.gov/montana-dakotas


                                        June 26, 2024


In Reply Refer To:
Quarter 1, 2025 Competitive Sale


Dear Reader:

The Bureau of Land Management (BLM) received Expressions of Interest to sell Federal oil and
gas leases in a future lease sale. The preliminary parcel list with recommended stipulations for
the nominated parcels is posted on the BLM e-Planning website, for a 30-day scoping period for
review starting on June 26, 2024. To be most useful, we should receive your comments before
July 26, 2024.

If you have any comments or know of any issues that should be addressed in our analysis of the
parcels, please provide comments using one of the following methods:


                 Electronic: BLM e-Planning website – https://eplanning.blm.gov
                            Advanced Search for NEPA # DOI-BLM-MT-0000-2024-0003-EA
                            Click “Documents”
                            Click “Comment on Document”


                 Mail:    Bureau of Land Management
                          Montana/Dakotas State Office
                          Branch of Fluid Minerals
                          Attn: Hattie Payne
                          5001 Southgate Drive
                          Billings, MT 59101


                 Contact: Hattie Payne (701) 260-4997
                          hpayne@blm.gov
     Case 2:25-cv-00054-DLC         Document 34-2       Filed 07/11/25     Page 6 of 130



Before including your address, phone number, e-mail address, or other personal identifying
information in your comment, be advised that your entire comment – including your personal
identifying information – may be made publicly available at any time. While you can ask us in
your comment to withhold from public review your personal identifying information, we cannot
guarantee that we will be able to do so.

An Environmental Assessment will be available for a 30-day review beginning on August 27,
2024 at the link listed above. Prior to issuance of any leases, the Decision Record and FONSI
will be finalized and posted for public review on our BLM e-Planning website. Please refer to
the BLM e-Planning website at https://eplanning.blm.gov/eplanning-ui/home. Current and
updated information about our EA, Lease Sale Notice, and corresponding information pertaining
to this sale can be found at the link referenced above.

We appreciate your attention to this review and look forward to hearing from you.


                                                           Sincerely,




                                                           Andrew Gibbs
                                                           Chief, Branch of Fluid Minerals
                                                           Bureau of Land Management
                                                           Montana-Dakotas State Office
Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 7 of 130




                         EXHIBIT B
Case 2:25-cv-00054-DLC     Document 34-2      Filed 07/11/25       Page 8 of 130




           United States Department of the Interior
Office of Surface Mining Reclamation and Enforcement




              Spring Creek Mine
          Mining Plan Modification for
             Federal Coal Leases
         MTM 94378 and MTM 110693

                  Record of Decision

           EISX-010-08-000-1732112528

                         March 7, 2025



                                  Prepared by:
                        U.S. Department of the Interior
            Office of Surface Mining Reclamation and Enforcement
                           Interior Regions 5 & 7-11
                                P.O. Box 25065
                             Lakewood, CO 80215
                   PH: 303-293-5000 / FAX: 303-293-5032
      Case 2:25-cv-00054-DLC                  Document 34-2              Filed 07/11/25           Page 9 of 130



                                            TABLE OF CONTENTS

1.0     INTRODUCTION .................................................................................................. 1
  1.1      Project Location and Background ..................................................................... 2
  1.2      Project Timeline ................................................................................................ 5
  1.3      Purpose and Need ............................................................................................ 6
  1.4      Agency Authority and Actions ........................................................................... 6
  1.5      Public Involvement ............................................................................................ 7

2.0     U.S. DISTRICT COURT FOR THE DISTRICT OF MONTANA ORDER .............. 7
  2.1      Coal Transportation .......................................................................................... 7
  2.2      Non-Greenhouse Gas Emissions...................................................................... 7
  2.3      Greenhouse Gas Emissions ............................................................................. 8

3.0     OSMRE DECISION AND BASIS FOR DECISION............................................. 10
  3.1      OSMRE Decision ............................................................................................ 10
  3.2      Description of the Selected Alternative: Alternative 1 – Proposed Action ....... 11
  3.3      Environmentally Preferred Alternative: Alternative 4 – No Action ................... 11
  3.4      Other Alternatives Considered ........................................................................ 12
      3.4.1      Alternative 2 – Partial Mining ................................................................... 12
      3.4.2      Alternative 3 – Accelerated Mining Rate .................................................. 13
      3.4.3      Alternatives Considered but Eliminated from Detailed Analysis ............... 14
  3.5      Basis for Decision ........................................................................................... 14
      3.5.1      Environmental Considerations ................................................................. 14
      3.5.2      Economic Considerations ........................................................................ 15
      3.5.3      Essential Considerations of National Policy ............................................. 15
      3.5.4      National Environmental Policy Act of 1969 .............................................. 17
      3.5.5      Mineral Leasing Act of 1920 .................................................................... 17
      3.5.6      Surface Mining Control and Reclamation Act of 1977 ............................. 18
      3.5.7      National Historic Preservation Act of 1966............................................... 19
      3.5.8      Tribal Consultation ................................................................................... 20
      3.5.9      Endangered Species Act of 1973 ............................................................ 21
      3.5.10     Clean Air Act of 1970 ............................................................................... 22
      3.5.11     Clean Water Act 1972 .............................................................................. 22
4.0     APPROVAL........................................................................................................ 24




Spring Creek Mine LBA1 ROD                                                                                                  ii
    Case 2:25-cv-00054-DLC         Document 34-2        Filed 07/11/25      Page 10 of 130



                                       LIST OF MAPS

Map 1.           General Project Location ...................................................... 3
Map 2.           Configuration of the LBA1 Tracts and Coal Leases within the
                 Spring Creek Mine Permit Boundary ........................................ 4




Spring Creek Mine LBA1 ROD                                                                      iii
      Case 2:25-cv-00054-DLC     Document 34-2      Filed 07/11/25   Page 11 of 130



1.0         INTRODUCTION

        On January 13, 2025, the U.S. Department of the Interior (DOI), Office of Surface
Mining Reclamation and Enforcement (OSMRE) published a Notice of Availability of the
Final Environmental Impact Statement for the Spring Creek Mine Mining Plan
Modification for Federal Coal Leases MTM 94378 and MTM 110693, collectively referred
to as the Lease by Application 1 (LBA1) tracts, to address deficiencies in the 2016
Environmental Assessment for Spring Creek Mine Mining Plan Modification for Federal
Coal Lease MTM 94378 (2016 LBA1 EA) identified by the United States District Court for
the District of Montana (the court) (WildEarth Guardians v. Haaland, No. CV 17-80-BLG-
SPW (D. Mont. 2021)).

        The Final Environmental Impact Statement (EIS) addressed the deficiencies
identified by the court and considered new information available in analyzing potential
impacts to environmental resources that could result from the continued mining of
Federal coal from the LBA1 tracts. Four alternatives were analyzed in this Final EIS:
Alternative 1 – Proposed Action, Alternative 2 – Partial Mining Alternative, Alternative
3 – Accelerated Mining Rate Alternative, and Alternative 4 – No Action. The primary
differences among the four alternatives are (1) remaining tons of recoverable LBA1
coal, (2) remaining years of LBA1 coal recovery, and (3) the remaining LBA1 area
disturbance.

        OSMRE issued a Notice of Intent to prepare an EIS on March 17, 2022, initiating
a 30-day public scoping period. OSMRE issued a Notice of Availability for the draft EIS
on September 4, 2024, initiating a 45-day public comment period, and hosted a public
meeting in Hardin, Montana on September 24, 2024. The U.S. Environmental Protection
Agency (EPA) published a Notice of Availability of the Final EIS in the Federal Register
on January 10, 2025 (90 FR 2001), and OSMRE published its Notice of Availability on
January 13, 2025 (90 FR 2744).

        This Record of Decision (ROD) documents OSMRE’s selected alternative. OSMRE
will prepare and submit a Mining Plan Decision Document (MPDD) for the DOI Assistant
Secretary for Land and Minerals Management (ASLM) with its recommendation for the



Spring Creek Mine LBA1 ROD                                                              1
      Case 2:25-cv-00054-DLC      Document 34-2      Filed 07/11/25     Page 12 of 130



proposed mining plan modification. The ASLM will decide whether to approve,
disapprove, or conditionally approve the modification.

1.1         Project Location and Background

        The Spring Creek Mine (SCM) is an existing surface coal mine in Big Horn County,
Montana, approximately 32 miles north of Sheridan, Wyoming (Map 1). Coal has been
mined on a commercial scale at the SCM since 1979. The SCM is currently operated by
Navajo Transitional Energy Company, LLC (NTEC) following NTEC’s acquisition in 2019
of substantially all the assets owned by Cloud Peak Energy, Inc., including the assets
held by Spring Creek Coal, LLC. NTEC is a wholly owned limited liability company of the
Navajo Nation.

        The three tracts associated with Federal coal lease MTM 94378 and the tract
associated with Federal coal lease MTM 110693 are referred to collectively as the LBA1
tracts. In addition to the LBA1 tracts, the SCM is permitted to mine coal from other
non-LBA1 tracts, including Federal, state, and private leases within the permit
boundary. The SCM recovers coal under 10 distinct coal leases (Map 2). There is
approximately 63.4 million tons (Mt) of Federal, state, and private coal that cover
approximately 971 acres outside of the area covered by the LBA1 tracts. Coal from the
various leases is blended due to variability in quality to fulfill contracts.

        Mining has been ongoing within the LBA1 tracts since the Federal mining plan
modification was initially approved by the ASLM in 2012. For the analysis in the Final
EIS, OSMRE used December 31, 2023, as the cutoff date for existing conditions at the
mine because calculations and potential impacts are evaluated on an annual basis. As
of December 31, 2023, approximately 63.3 Mt of the 103.2 Mt of LBA1 Federal coal had
been recovered and 461.4 acres of the 627.9 acres had been disturbed within the four
LBA1 tracts. As of December 31, 2023, approximately 39.9 Mt of LBA1 Federal coal
remained, and approximately 162.5 acres of the LBA1 tracts had yet to be disturbed.




Spring Creek Mine LBA1 ROD                                                               2
                       Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 13 of 130




Map 1.   General Location of the LBA1 Tracts


Spring Creek Mine LBA1 ROD                                                        3
   Case 2:25-cv-00054-DLC        Document 34-2       Filed 07/11/25     Page 14 of 130




Map 2.   Configuration of the LBA1 Tracts and Coal Leases within the Spring Creek Mine Permit
         Boundary




Spring Creek Mine LBA1 ROD                                                                 4
      Case 2:25-cv-00054-DLC      Document 34-2        Filed 07/11/25   Page 15 of 130



1.2          Project Timeline

         An extensive timeline of this mining plan modification and its associated court
orders is detailed in the Final EIS (Section 1.3).

      2005—Spring Creek Coal, LLC, files a Lease by Application with the Bureau of Land
           Management (BLM) to lease four tracts of Federal coal (MTM 94378)

      2006—BLM publishes a Notice of Availability of an Environmental Assessment (EA)
           for Spring Creek Coal Lease by Application, MTM 94378

      2007—BLM issues a Finding of No Significant Impact (FONSI), offers MTM 94378 for
           competitive sale, accepts Spring Creek Coal, LLC’s bid, and issues the lease

      2008—Spring Creek Coal, LLC, applies to Montana Department of Environmental
           Quality (MDEQ) for a revision to State Mining Permit (SMP) C1979012, and
           applies to OSMRE for a Federal mining plan modification

      2011—MDEQ approves SMP C1979012 permit revision

      2012—OSMRE adopts the 2006 BLM LBA1 EA, publishes a FONSI, and submits a MPDD
           to the ASLM recommending the approval of the mining plan modification

      2012—ASLM approves the Federal mining plan modification; environmental groups
           file a challenge to the approval

      2016—The court issues a decision holding that OSMRE had failed to fulfill its
           obligations under the National Environmental Policy Act (NEPA) and orders
           OSMRE to prepare an updated EA (WildEarth Guardians v. OSMRE, Civil Nos.
           14-13-SPW & 14-103-SPW (D. Mont. 2016)

      2016—OSMRE    publishes   the   Spring   Creek    Mine   Mining   Plan   Modification
           Environmental Assessment for Federal Coal Lease MTM 94378 (2016 LBA1 EA)
           and FONSI, and submits an MPDD to the ASLM recommending the approval of
           the mining plan modification

      2016—ASLM approves the Federal mining plan modification; environmental groups
           file a challenge to the approval



Spring Creek Mine LBA1 ROD                                                                5
      Case 2:25-cv-00054-DLC      Document 34-2      Filed 07/11/25   Page 16 of 130



      2018—Spring Creek Coal, LLC applies to BLM to consolidate Tract 2, 3 and 4 of MTM
           94378 into a logical mining unit; the remaining Tract 1 was segregated into a
           new lease MTM 110693 (collectively, the LBA1 tracts)

      2019—NTEC acquires the SCM

      2021—The court orders OSMRE to complete a remedial NEPA analysis that addresses
           identified deficiencies in the 2016 LBA1 EA, allowing for a deferred vacatur of
           the Federal mining plan modification until October 2, 2021; OSMRE requests
           and is granted an extension of the deferred vacatur until April 1, 2023

      2022—OSMRE publishes a Notice of Intent to prepare an EIS and holds a public
           scoping meeting

      2024—OSMRE requests and is granted an extension of the deferred vacatur until
           March 14, 2025; OSMRE publishes a Notice of Availability of the draft EIS and
           holds a public comment meeting

      2025—OSMRE and the EPA publish a Notice of Availability of the Final EIS

1.3          Purpose and Need

         OSMRE’s purpose in preparing the Final EIS is to fully analyze the environmental
impacts from the Federal mining plan modification, with particular attention to
addressing the deficiencies identified in the 2021 Court Order, so that OSMRE can make
a recommendation to the ASLM to approve, disapprove, or conditionally approve the
proposed Federal mining plan modification for the LBA1 tracts. The ASLM will decide
whether the mining plan modification is approved, disapproved, or approved with
conditions. Under the current Court Order, the deferred vacatur is set to expire on
March 14, 2025.

1.4          Agency Authority and Actions

         OSMRE is the lead agency for the Project. No Federal or state agencies, tribes,
counties, municipalities, conservation districts, or non-government organizations
indicated interest in participating as a cooperating agency on this project.

         This ROD documents OSMRE’s selected alternative. Pursuant to 30 U.S.C. § 207(c)
and 30 C.F.R. part 746, OSMRE will prepare and submit an MPDD to the ASLM with its

Spring Creek Mine LBA1 ROD                                                               6
      Case 2:25-cv-00054-DLC      Document 34-2    Filed 07/11/25    Page 17 of 130



recommendation for the proposed mining plan modification. The ASLM will decide
whether to approve, disapprove, or conditionally approve the modification.

1.5        Public Involvement

        During the development of the Final EIS, OSMRE provided opportunities for public
involvement and comment, including an initial 30-day scoping period, a virtual public
scoping meeting, a 45-day public comment period on the draft EIS, and an in-person
public comment meeting. OSMRE also mailed letters to Federal agencies, state
agencies, tribes, counties, municipalities and conservation districts, non-government
organizations, and individuals.

        Comments received during the scoping and public comment process were
reviewed to identify additional significant environmental issues for the Final EIS. Refer
to Appendix D of the Final EIS for a description of the comments received on the draft
EIS, and OSMRE’s responses to substantive comments.

2.0         U.S. District Court for the District of Montana Order

        In 2021, the court found that OSMRE’s 2016 LBA1 EA failed to take a “hard look”
at the indirect effects of coal transportation, non-greenhouse gas emissions, and
greenhouse gas (GHG) emissions resulting from the proposed mining plan modification
(WildEarth Guardians v. Haaland, No. CV 17-80-BLG-SPW (D. Mont. 2021)). OSMRE finds
that the analysis in the Final EIS adequately addresses the deficiencies in the 2016 LBA1
EA identified in the Court Order, specifically:

2.1         Coal Transportation

        Indirect and cumulative effects of diesel emissions, noise, vibrations, and coal
dust emissions from rail cars based on the final destination and routes of SCM coal
shipments are addressed in Sections 4.4.3, 4.14, and 4.15 of the Final EIS.

2.2         Non-Greenhouse Gas Emissions

        Indirect effects of non-greenhouse gas from downstream combustion emissions
are addressed in Section 4.4.4 of the Final EIS.




Spring Creek Mine LBA1 ROD                                                              7
      Case 2:25-cv-00054-DLC      Document 34-2      Filed 07/11/25    Page 18 of 130



2.3         Greenhouse Gas Emissions

        Effects related to the social cost of GHG emissions are addressed in Section 4.4.5
of the Final EIS.

        NEPA does not require an agency to quantify project impacts through a specific
methodology, such as estimating the “social cost of carbon,” “social cost of methane,”
or “social cost of greenhouse gases.” A protocol to estimate what is referenced as the
“social cost of carbon” (SCC) associated with GHG emissions was developed by a Federal
Interagency Working Group on the Social Cost of Greenhouse Gases (IWG).

        Executive Order (EO) 14154, Unleashing American Energy (Jan. 20, 2025),
however, disbanded the IWG and withdrew any guidance, instruction, recommendation,
or document issued by the IWG, including the SCC protocol. Section 6(c) of EO 14154
states:

            The calculation of the “social cost of carbon” is marked by logical
        deficiencies, a poor basis in empirical science, politicization, and the
        absence of a foundation in legislation. Its abuse arbitrarily slows
        regulatory decisions and, by rendering the United States economy
        internationally uncompetitive, encourages a greater human impact on the
        environment by affording less efficient foreign energy producers a greater
        share of the global energy and natural resource market. Consequently,
        within 60 days of the date of this order, the Administrator of the EPA shall
        issue guidance to address these harmful and detrimental inadequacies,
        including consideration of eliminating the “social cost of carbon”
        calculation from any Federal permitting or regulatory decision.

EO 14154 further directs agencies to ensure consistency with the guidance in OMB
Circular A-4 of September 17, 2003, when estimating the value of changes in GHG
emissions from agency actions.

        In accordance with the EO, OSMRE would not normally include any estimates for
the SCC for this action for multiple reasons. First, this action is not a rulemaking.
Rulemakings are the administrative actions for which the IWG originally developed the
SCC protocol. Second, EO 14154 clarifies that the IWG has been disbanded and its
guidance has been withdrawn. Further, NEPA does not require agencies to conduct a
cost-benefit analysis. Including an SCC analysis without a complete cost-benefit
analysis, which would include the social benefits of the proposed action to society as a


Spring Creek Mine LBA1 ROD                                                               8
    Case 2:25-cv-00054-DLC       Document 34-2     Filed 07/11/25    Page 19 of 130



whole and other potential positive benefits, would be unbalanced, potentially
inaccurate, and not useful to foster informed decision-making. Any increased economic
activity—in terms of revenue, employment, labor income, total value added, and
output—that is expected to occur as a result of the proposed action is simply an
economic impact, not an economic benefit, inasmuch as any such impacts might be
viewed by another person as a negative or undesirable impact due to a potential
increase in the local population, competition for jobs, and concerns that changes in
population will change the quality of the local community. “Economic impact” is
distinct from “economic benefit,” as understood in economic theory and methodology,
and the socioeconomic impact analysis required under NEPA is distinct from a cost-
benefit analysis, which NEPA does not require. In addition, many benefits and costs
from agency actions cannot be monetized and, even if monetizable, cannot
meaningfully be compared directly to SCC calculations for a number of reasons,
including because of differences in scale (local impacts vs global impacts).

       Finally, purported estimates of SCC would not measure the actual environmental
impacts of a proposed action and may not accurately reflect the effects of GHG
emissions. Estimates of SCC attempt to identify economic damages associated with an
increase in carbon dioxide emissions—typically expressed as a one metric ton increase
in a single year—and typically includes, but is not limited to, potential changes in net
agricultural productivity, human health, and property damages from increased flood
risk over hundreds of years. The estimate is developed by aggregating results across
models, over time, across regions and impact categories, and across multiple scenarios.
The dollar cost figure arrived at based on consideration of SCC represents the value of
damages avoided if, ultimately, there is no increase in carbon emissions. But SCC
estimates are often expressed in an extremely wide range of dollar figures, depending
on the particular discount rates used for each estimate, and would provide little benefit
in informing OSMRE’s or the ASLM’s decision. For these reasons, DOI has also rescinded
its memorandum of October 16, 2024, entitled, “Updated Estimates of the Social Cost
of Greenhouse Gases,” which had directed DOI bureaus to calculate SCC using the
methodology contained in the EPA’s Final Rule of March 8, 2024, 89 Fed. Reg. 16,820.



Spring Creek Mine LBA1 ROD                                                              9
      Case 2:25-cv-00054-DLC     Document 34-2      Filed 07/11/25    Page 20 of 130



        However, notwithstanding the concerns outlined above, in this unique case,
OSMRE was directed by the court to take a “hard look” at the costs of greenhouse gas
emissions or risk having the mining plan modification approval vacated by the court.
Because the SCC analysis in the Final EIS is complete and additional analysis would
increase regulatory uncertainty for the mine in contravention of the policy articulated
in Section 5(c) of EO 14154, OSMRE, in this ROD, is not revisiting the SCC analysis in the
Final EIS. As explained in more detail below, in reaching its decision in the ROD, OSMRE
weighed current policy considerations and concerns with the SCC outlined above when
reviewing the Final EIS, as well as the fact that NEPA does not require an agency to
quantify project impacts through a specific methodology, such as SCC.

3.0        OSMRE DECISION AND BASIS FOR DECISION

3.1        OSMRE Decision

        OSMRE’s decision is to prepare and submit to the ASLM a MPDD recommending
the approval of the proposed Federal mining plan modification, analyzed as
Alternative 1 in the Final EIS, because this alternative best supports the purpose and
need for the proposed action, the goals of the applicant, and national policy to
encourage energy exploration and production on Federal lands and waters. OSMRE has
based its decision to select Alternative 1, the Proposed Action, on a thorough review
of the Final EIS, public input, consultation with Federal, state, and local regulatory
agencies, and consultation with affected tribes. This section describes the relevant
factors considered and balanced by OSMRE in reaching its decision.

        OSMRE verifies that, in reaching its decision, it has complied with the
requirements of NEPA, including the Department’s regulations and procedures
implementing NEPA at 43 C.F.R. part 46 and Part 516 of the Departmental Manual. All
stakeholders’ concerns and comments during the NEPA process have been satisfactorily
addressed. OSMRE’s decision to select Alternative 1, the Proposed Action, will be
implemented through issuance of this ROD. OSMRE’s MPDD will recommend to the ASLM
that the Proposed Action be approved, without conditions.




Spring Creek Mine LBA1 ROD                                                               10
      Case 2:25-cv-00054-DLC     Document 34-2      Filed 07/11/25   Page 21 of 130



3.2         Description of the Selected Alternative: Alternative 1 – Proposed Action

        Under Alternative 1 – Proposed Action, the SCM would be authorized to mine the
remaining 39.9 Mt of coal within the LBA1 tracts in accordance with the life of mine
(LOM) mining sequence outlined in the approved MDEQ SMP C1979012. Under the
Proposed Action, it is assumed that the remaining LBA1 tracts’ coal would be mined
and approximately 162.5 acres would be disturbed over a 16-year LOM.

        As described in Section 1.1, mining has been ongoing within the LBA1 tracts since
the Federal mining plan modification was approved in 2012. If approved, the Proposed
Action would continue to mine the remaining 39.9 Mt of Federal coal, which would be
shipped primarily to domestic industrial customers, as well as foreign markets. In the
U.S., coal is transported by rail from the SCM to power plants in Washington, Arizona,
Minnesota, and Michigan. Coal is also transported by rail to terminals in Wisconsin and
Canada for vessel transport.

        Following the completion of mining operations, the SCM will return the land to
its approved postmining land uses (grazing, wildlife habitat, pastureland, and cropland)
by adhering to the Reclamation Plan in SMP C1979012.

3.3         Environmentally Preferred Alternative: Alternative 4 – No Action

        Under Alternative 4 – No Action, the Federal coal remaining within the LBA1
tracts as of March 14, 2025 (U.S. District Court for the District of Montana Order CV 17-
80-BLG-SPW) would not be recovered. If the mining plan is not approved by the ASLM
by the March 14, 2025, deadline, SCM would be unable to continue mining Federal coal
within the LBA1 tracts or complete its required reclamation commitments within the
boundaries of the LBA1 tracts. This alternative assumes that the SCM would apply for
and receive all appropriate approvals to fully reclaim any disturbed areas in accordance
with the Surface Mining Control and Reclamation Act of 1977 (SMCRA) and its current
approved mining and reclamation permit.

        The No Action alternative was identified in both the draft and Final EIS as the
environmentally preferable alternative because it would cause the least amount of
additional adverse environmental effects from the production or combustion of the
remaining LBA1 tracts coal. Moderate direct and indirect negative socioeconomic

Spring Creek Mine LBA1 ROD                                                             11
      Case 2:25-cv-00054-DLC     Document 34-2     Filed 07/11/25   Page 22 of 130



effects of a reduced LOM would be partially offset by the continued operation in other
portions of the SCM, which has approximately 63.4 Mt of permitted non-LBA1 Federal,
state, and private coal remaining. The No Action alternative was not selected for
OSMRE’s recommendation decision because it does not meet the purpose and need, and
it does not align with current national policy to encourage energy exploration and
production on Federal lands and waters. EO 14154 Sec. 2(a).

3.4         Other Alternatives Considered

        A total of four alternatives were analyzed in the Final EIS. The primary
differences among the four alternatives are: (1) remaining tons of recoverable LBA1
coal; (2) remaining years of LBA1 coal recovery; and (3) the remaining LBA1 area
disturbance. Other alternatives were considered but eliminated from detailed analysis
for the reasons discussed below.

3.4.1       Alternative 2 – Partial Mining

        Under Alternative 2 – Partial Mining, ASLM approval of the mining plan
modification for the LBA1 tracts would end after an approximate five-year term, and,
if the operator would like to continue mining beyond the initial 5-year term, the
operator would be required to apply for an additional mining plan modification, which
OSMRE would review under the circumstances that exist in the future. During the five-
year term, approximately 19.3 Mt of coal would be mined from the LBA1 tracts and
approximately 78.5 acres would be disturbed. Under this alternative, any mining of the
LBA1 tracts after this date would require a new application from the mine requesting
permission to mine the remaining LBA1 Federal coal, new analysis by OSMRE, a new
recommendation from OSMRE to ASLM, and a new mining plan modification approval
from ASLM.

        The Partial Mining alternative was identified in the Final EIS as the preferred
alternative. Although the final mining plan modification decision remains with the
ASLM, since the publication of the Final EIS on January 13, 2025, OSMRE has reevaluated
the Partial Mining alternative and determined that it is not in alignment with current
national policy considerations. OSMRE does not recommend this alternative to the
ASLM.

Spring Creek Mine LBA1 ROD                                                           12
    Case 2:25-cv-00054-DLC       Document 34-2      Filed 07/11/25   Page 23 of 130



        Most notably, the January 20, 2025, EO 14154 (Unleashing American Energy),
declared that it is the policy of the United States “to encourage energy exploration and
production on Federal lands and waters . . . in order to meet the needs of our citizens
and solidify the United States as a global energy leader long into the future.” EO 14154
Sec. 2. The EO directed the heads of all agencies to identify agency actions “that
impose an undue burden on the identification, development or use of domestic energy
resources - - with particular attention to oil, natural gas, coal, hydropower, biofuels,
critical mineral, and nuclear energy resources. . .” Id. at Sec. 3. OSMRE finds that the
recommendation of the Partial Mining alternative would constitute an agency action
that imposes an “undue burden on the identification, development, or use of domestic
energy resources” because it would limit mining Federal coal within the LBA1 tracts at
SCM to five years, create significant uncertainty for NTEC and SCM about whether and
how it could continue mining beyond the five-year approval period, and place an
unnecessary barrier on the development of affordable energy resources in the United
States. Further, the Secretary of the Interior issued Secretary’s Order (SO) 3418 on
February 3, 2025, to implement provisions of EO 14154. That order, in part, directs the
Department to focus on improving energy permitting, development, and production by
removing regulatory impediments. As such, OSMRE finds that the Partial Mining
alternative is inconsistent with EO 14154 and SO 3418, and it would create uncertainty
for NTEC and the SCM about whether it would be authorized to continue mining beyond
the initial 5-year approval period. OSMRE has decided not to select the Partial Mining
alternative as its recommendation to ASLM.

3.4.2       Alternative 3 – Accelerated Mining Rate

        Under Alternative 3 – Accelerated Mining Rate, the agency assumed that the
remaining 39.9 Mt of coal would be mined from the LBA1 tracts at a rate of 18 Mtpy.
Using this higher annual production rate, mining would continue for another 2.2 years
within the LBA1 tracts. Approximately 162.5 acres, the same as the Proposed Action,
would be disturbed under this alternative.

        The Accelerated Mining Rate alternative was included in the alternatives analysis
in the Final EIS because it was originally analyzed as the Proposed Action in the 2016
LBA1 EA and because it provided an opportunity to understand how changing the rate

Spring Creek Mine LBA1 ROD                                                             13
      Case 2:25-cv-00054-DLC      Document 34-2       Filed 07/11/25    Page 24 of 130



of mining would change the duration and intensity of impacts. The Accelerated Mining
Rate alternative was not selected for OSMRE’s recommendation decision because,
based on current coal market conditions, it would not be feasible for the SCM to mine
the remaining LBA1 tract coal at the accelerated rate. Additionally, if SCM is operating
in accordance with its approved mining plan and MDEQ permit, the rate of mining is an
NTEC business decision, not a regulatory one.

3.4.3        Alternatives Considered but Eliminated from Detailed Analysis

        OSMRE considered additional alternatives that were not analyzed in detail in the
Final EIS (Final EIS Section 2.3). OSMRE concluded that that there are no other
reasonable action alternatives to the Proposed Action that would reduce or eliminate
adverse environmental effects and meet the agency’s purpose and need.

3.5          Basis for Decision

3.5.1        Environmental Considerations

        OSMRE’s decision considered the environmental effects of each alternative.
Alternative 4, the No Action alternative, was identified in the draft and Final EIS as the
environmentally preferable alternative because, based on the environmental analysis
in the Final EIS, it would cause the least damage to the biological and physical
environment. OSMRE determined that implementation of Alternative 2, the Partial
Mining alternative, would not significantly reduce the intensity the environmental
effects resulting from Alternative 1, the Proposed Action. Alternative 3, the
Accelerated Mining Rate alternative, while remaining technically unfeasible due to
current market conditions, would increase the intensity of impacts resulting from the
proposed action.

        All direct and indirect impacts, including their intensities, are described fully in
Chapter 4 of the Final EIS, and cumulative impacts are described in Chapter 5 of the
Final EIS.

Finding

        OSMRE finds that the decision to select Alternative 1 considers the environmental
analysis described in Chapters 4 and 5 of the Final EIS. While Alternative 1 is not the


Spring Creek Mine LBA1 ROD                                                               14
    Case 2:25-cv-00054-DLC       Document 34-2     Filed 07/11/25    Page 25 of 130



environmentally preferrable alternative and will result in some direct, indirect, and
cumulative environmental impacts, Alternative 1 is the alternative that best meets the
project’s purpose and need, as well as current national policy considerations.

3.5.2      Economic Considerations

        OSMRE’s decision considered the economic effects of each alternative.
Alternative 1, the Proposed Action, and Alternative 3, the Accelerated Mining Rate
alternative, would extend the duration of employment for current employees and
extend the economic benefits related to mining the Federal coal, including both state
and Federal revenues. Alternative 3, however, would extend the employment benefits
for a much shorter duration than Alternative 1. Alternative 2, the Partial Mining
alternative, would extend the employment and economic benefits for the five-year
term of approval, but beyond that term, economic impacts would be uncertain.
Alternative 4, the No Action alternative, would not result in the employment or
economic benefits associated with the SCM coal mining operations on the LBA1 tracts.

Finding

        Direct and indirect socioeconomic impacts are described in Section 4.17 of the
Final EIS, and cumulative socioeconomic impacts are described in Section 5.2.14 of the
Final EIS. OSMRE finds that the decision to select Alternative 1 was based in part on the
information contained in these sections on the direct, indirect, and cumulative
socioeconomic impacts of this alternative as compared to other alternatives.

3.5.3      Essential Considerations of National Policy

        In accordance with section 101(b) of NEPA, in addition to the environmental and
economic considerations summarized above, OSMRE’s decision included essential
considerations of national policy, including:

3.5.3.1    Unleashing American Energy

        EO 14154 and SO 3418 (Unleashing American Energy), direct Federal agencies
and DOI bureaus to protect national economic, security, and military preparedness by
ensuring that an abundant supply of reliable energy is readily accessible in every State
and territory of the United States; to ensure that all regulatory requirements related


Spring Creek Mine LBA1 ROD                                                             15
    Case 2:25-cv-00054-DLC       Document 34-2       Filed 07/11/25    Page 26 of 130



to energy are grounded in clearly applicable law; and to ensure that the global effects
of a rule, regulation, or action shall, whenever evaluated, be reported separately from
its domestic costs and benefits, in order to promote sound regulatory decision making
and prioritize the interests of the American people; and to guarantee that all executive
departments and agencies provide opportunity for public comment and rigorous, peer-
reviewed scientific analysis.

3.5.3.2    Prioritizing Accuracy in Environmental Analyses

       EO 14154 requires Federal agencies to adhere to only the relevant legislated
requirements for environmental considerations and requires agencies to use the most
robust methodologies of assessment at their disposal and shall not use methodologies
that are arbitrary or ideologically motivated. The Order, summarized above, withdrew
any guidance, instruction, recommendation, or document issued by the IWG.

       As discussed above, the 2021 court order directed OSMRE to take a “hard look”
at the costs of greenhouse gas emissions. In response, the draft and Final EIS included
an SCC analysis that relied on guidance that has since been withdrawn because of logical
deficiencies, a poor basis in empirical science, politicization, and the absence of a
foundation in legislation. While the analysis is included in the Final EIS, in reaching the
decision in this ROD, OSMRE gave the SCC analysis in the Final EIS the appropriate
consideration based on its analytical flaws that were identified in EO 14154 and
selected Alternative 1.

3.5.3.3    Ending Illegal Discrimination and Restoring Merit-Based Opportunity

       EO 14154 and Presidential Memorandum (Ending Illegal Discrimination and
Restoring Merit-Based Opportunity), require DOI to strictly adhere to NEPA, 42 U.S.C.
§§ 4321 et seq. The Final EIS includes a discussion on environmental justice. However,
because such Order and Memorandum repeal EOs 12898 (Feb. 11, 1994) and 14096 (Apr.
21, 2023), evaluation of environmental justice is not legally required or necessary to
make a reasoned decision. To reach its recommendation decision, OSMRE considered
only the applicable statutory and regulatory requirements necessary for approval of the
mining plan modification.



Spring Creek Mine LBA1 ROD                                                              16
    Case 2:25-cv-00054-DLC       Document 34-2     Filed 07/11/25    Page 27 of 130



Finding

        OSMRE finds that the selection of Alternative 1 was made in consideration of and
is consistent with EO 14154 and the Presidential Memorandum Ending Illegal
Discrimination and Restoring Merit-Based Opportunity.

3.5.4       National Environmental Policy Act of 1969

        NEPA declares a national environmental policy and promotes consideration of
environmental concerns by Federal agencies in decision making. DOI NEPA regulations
are promulgated at 43 C.F.R. part 46. The OSMRE NEPA Handbook also provided
guidance for the Final EIS.

Finding

        OSMRE finds that the Final EIS complies with the procedural and analytical
requirements of NEPA, including the Department’s regulations and procedures
implementing NEPA at 43 C.F.R. part 46 and Part 516 of the Departmental Manual.
OSMRE’s selection of Alternative 1 is consistent with 42 U.S.C. § 4332(2)(B) because
OSMRE has insured “that presently unquantified environmental amenities and values
[were] given appropriate consideration in decisionmaking along with economic and
technical considerations.”

3.5.5       Mineral Leasing Act of 1920

        The BLM’s authority to manage the public’s coal resources comes from two laws:
the Mineral Leasing Act of 1920, as amended, and the Mineral Leasing Act of 1947, as
amended. These Acts provide for the leasing of minerals from public lands, including
coal, and require that a royalty be paid on amounts mined and sold. The BLM’s role is
to conduct lease sales to ensure the public receives fair market value; and to administer
and ensure compliance with the terms and conditions of those leases. The BLM also
monitors production to ensure maximum economic recovery of the public’s coal
resource and verifies that production for royalty collection by the Office of Natural
Resources Revenue.

        Before conducting any Federal coal development or mining operations on Federal
leases or licenses, the operator/lessee must submit and obtain approval of a resource


Spring Creek Mine LBA1 ROD                                                             17
    Case 2:25-cv-00054-DLC      Document 34-2      Filed 07/11/25   Page 28 of 130



recovery and protection plan (R2P2). On April 16, 2019, the BLM received an R2P2 for
the SCM, which included Federal coal leases MTM 094378 and MTM 110693. Following
review, the BLM found the application to be complete and in conformance with the
requirements of the Mineral Leasing Act of 1920, as amended, and the applicable
regulations at 43 CFR part 3480, and approved the R2P2, effective October 1, 2019.

Finding

        BLM’s competitive lease sale and associated 2006 LBA EA, and its review and
approval of the R2P2 constituted compliance with the Mineral Leasing Act. In addition,
the Mineral Leasing Act of 1920, as amended, also requires an approved mining plan
before a significant disturbance of the environment may occur. 30 U.S.C. § 207(c).
OSMRE’s recommendation of Alternative 1 of this mining plan modification, if approved
by the ASLM, will be consistent with the R2P2 and will complete compliance with the
Mineral Leasing Act, as amended.

3.5.6       Surface Mining Control and Reclamation Act of 1977

        Before the commencement of any coal development or mining operations on a
Federal lease or license, a permit application package (PAP) containing, among other
documents, a R2P2 and a permit application must be submitted to the regulatory
authority responsible for issuing SMCRA permits.

        SMCRA establishes a program of cooperative Federalism that allows a state or
tribe to enact and administer its own SMCRA regulatory program on non-Federal and
non-Indian lands within its borders and subject to limits established by Federal
minimum standards and with prescribed oversight and enforcement authority by OSMRE
(30 U.S.C. § 1253). The Montana permanent program was approved by the Secretary in
1982. 30 C.F.R. § 926.10. MDEQ administers both SMCRA, the Montana Strip and
Underground Mine Reclamation Act (MSUMRA), and the Montana Environmental Policy
Act (MEPA). In addition, DOI and Montana entered into a State-Federal Cooperative
Agreement in 1998 that allows Montana to be the primary SMCRA regulatory authority
on Federal lands within Montana.

        On January 23, 2008, Spring Creek Coal, LLC, submitted a PAP to MDEQ to revise
SMP C1979012 to add the Federal coal within the LBA1 tracts. MDEQ found the PAP to

Spring Creek Mine LBA1 ROD                                                           18
    Case 2:25-cv-00054-DLC       Document 34-2       Filed 07/11/25    Page 29 of 130



be administratively complete in August 2009 and determined that an EIS under MEPA
was not necessary. A PAP notice was published in the local newspaper for four
consecutive weeks followed by a 30-day public comment period. No comments were
received.

        In May 2011, MDEQ completed a checklist EA pursuant to the MEPA to assess
potential environmental impacts of the PAP. The MDEQ published the EA and a
Determination of Acceptability, followed by a public notice period. No comments were
received. MDEQ approved the permit revision on June 21, 2011.

Finding

        OSMRE finds that MDEQ’s review and approval of the permit revision, which
covers all of Alternative 1, constitutes compliance with SMCRA.

3.5.7       National Historic Preservation Act of 1966

        Section 106 of the National Historic Preservation Act (NHPA) and its
implementing regulations under 36 C.F.R. part 800 require all Federal agencies to
consider the effects of Federal actions on cultural resources eligible for or listed in the
National Register of Historic Places (NRHP). Traditional cultural properties are also
protected under Section 106 of the NHPA.

        In 2001, OSMRE, MDEQ, the SCM operator, and the Montana State Historic
Preservation Officer (SHPO) executed a Memorandum of Agreement (MOA) pursuant to
the NHPA as an enforceable condition under the SCM permit. Comprehensive
investigations (BLM Class III inventory) of cultural resources within the SCM permit area
are completed. As of 2018, 11 cultural sites within the SCM permit area were designated
as eligible for listing on the NRHP, two of which are within the LBA1 tracts.

        Site 24BH404 is the most culturally significant site within the LBA1 tracts. The
site consists of 46 panels of petroglyphs, including modern, historic and prehistoric
glyphs. However, the Federal coal under site 24BH404 was removed from the lease,
eliminating any potential disturbance to the site, and, in 2015, mitigation was
completed for the purpose of recording the site for historical record. The site was
photographed with 3D imagery so that it can be recreated if the site is damaged by
weather. The remaining historic properties within the SCM permit were mitigated
Spring Creek Mine LBA1 ROD                                                              19
    Case 2:25-cv-00054-DLC        Document 34-2     Filed 07/11/25    Page 30 of 130



pursuant to the MOA. The MOA remains in place to guide mitigation if incidental cultural
discoveries are encountered during mining.

Finding

        OSMRE finds that the Section 106 process is complete, and Alternative 1 will not
negatively impact any culturally significant sites and the MOA will adequately mitigate
impacts to any unanticipated cultural discoveries during mining operations.

3.5.8       Tribal Consultation

        Native American tribes were consulted during the preparation of the 2006 and
2016 LBA1 EAs. In response to the 2006 LBA EA consultation, response letters were
received from the Blackfeet, Cheyenne River Sioux, and the Northern Cheyenne Tribes.
The Blackfeet and Cheyenne River Sioux did not have specific concerns about the LBA1
tracts. The Northern Cheyenne Historic Preservation Officer requested additional
information and participated in a discussion of the cultural resource issues related to
the LBA1 tracts and accompanied mine personnel on tour of several of the sites on
February 14, 2006. The Northern Cheyenne Historic Preservation Officer conducted
tribal cultural surveys to determine whether there were any indicators that might
suggest cultural tribal properties exist within the LBA1 tracts.

        While preparing the 2016 LBA1 EA, OSMRE requested continued consultation with
affected tribes for the stages of the proposal development and implementation of the
final federal action. On May 23, 2016, the Cheyenne and Arapahoe Tribes provided a
letter in response to OSMRE’s consultation request, confirming no properties would be
affected. No other tribes responded to OSMRE’s consultation request.

        While preparing the EIS, OSMRE sent letters to 23 tribes during public scoping
and again for the Notice of Availability of the draft EIS. No tribes responded to OSMRE’s
consultation requests.

Finding

        OSMRE finds it has made a good faith and reasonable effort to invite any tribes
that may be affected by the Proposed Action to consult on OSMRE’s decision and that
it has satisfied all tribal consultation obligations when selecting Alternative 1.


Spring Creek Mine LBA1 ROD                                                             20
    Case 2:25-cv-00054-DLC        Document 34-2      Filed 07/11/25    Page 31 of 130



3.5.9       Endangered Species Act of 1973

        Section 7(a)(2) of the Endangered Species Act (ESA) requires each Federal agency
to ensure that its activities are not likely to jeopardize the continued existence of listed
species or adversely modify designated critical habitats.

        While preparing the EIS, in August 2024, OSMRE requested an official species list
using the U.S. Fish and Wildlife Service (USFWS) Information Planning and Consultation
System (IPaC) of protected species that may be affected by the Proposed Action. At
that time, there were no listed or proposed species or designated critical habitats. As
such, OSMRE determined that the proposed action would have no effect on any listed
or proposed species or designated critical habitats. A “no effect” determination does
not require Section 7 consultation with USFWS.

        In January 2025, while preparing the MPDD after publication of the Final EIS,
OSMRE submitted a request for an updated official species list through IPaC. The
updated official species list included three newly proposed species: the proposed
threatened monarch butterfly (Danaus Plexippus) and western regal fritillary (Argunnis
idalia occidentalis), and the proposed endangered Suckley’s cuckoo bumble bee
(Bombus suckleyi). No designated critical habitat for these species has been proposed
in the vicinity of the SCM.

        On February 11, 2025, after informal discussion with the USFWS Montana
Ecological Field Office, OSMRE submitted to USFWS its determinations that the
proposed mining plan modification would “not jeopardize the continued existence” of
the monarch butterfly, the western regal fritillary, or the Suckley’s cuckoo bumble bee
species. OSMRE’s “no jeopardy” determinations were made based on the absence of
suitable habitat within the proposed project area, based on previous habitat surveys.
Additionally, if approved, the Alternative 1 would adhere to SCM’s approved
Reclamation Plan in SMP C1979012, which requires that reclamation efforts, including
but not limited to backfilling, grading, topsoil replacement, and revegetation, on all
land that is disturbed by surface mining activities will occur as contemporaneously as
practicable. Revegetation is required to be comprised of species native to the area, or
of introduced species where desirable and necessary to achieve the approved


Spring Creek Mine LBA1 ROD                                                               21
    Case 2:25-cv-00054-DLC        Document 34-2     Filed 07/11/25   Page 32 of 130



postmining land use and approved by MDEQ (30 C.F.R. § 816.111). The SCM will adhere
to the vegetation monitoring described in Section 1(h)(ix) of the approved Reclamation
Plan. On February 21, 2025, USFWS concurred with OSMRE’s determinations that the
proposed action would not jeopardize the continued existence of the three proposed
species.

Finding

         OSMRE finds that the selection of Alternative 1 complies with the ESA based on
the analysis outlined above. OSMRE’s determination and USFWS’s concurrence that the
proposed action would have no effect on any listed species or designated critical
habitats and would not jeopardize the continued existence of any proposed species
satisfies OSMRE’s obligations under the ESA.

3.5.10       Clean Air Act of 1970

         The State of Montana administers the Federal Clean Air Act and the Montana
Clean Air Act. Montana Air Quality Permits (MAQP) are issued by the MDEQ. The SCM’s
current MAQP #1120-12 limits the SCM to producing a maximum of 30 Mt of coal per
year to ensure that all potential sources of air pollutants from mining operations comply
with the Montana Clean Air Act.

Finding

         OSMRE finds that Alternative 1 is within the production rate limitations of the
SCM’s current air quality permit and complies with the Clean Air Act.

3.5.11       Clean Water Act 1972

         MDEQ is responsible for administering the Federal Clean Water Act and the
Montana Water Quality Act, which prevents degradation of surface and groundwater
due to discharges of mine wastewater and storm water. The Montana Pollutant
Discharge Elimination System (MPDES) permit is required for surface water and storm
water discharges, while the Montana Ground Water Pollution Control System (MCWPCS)
permit is required for ground water discharge.

         Mining operations in Montana must be designed and conducted in a way to
prevent material damage, with respect to protection of the hydrologic balance,

Spring Creek Mine LBA1 ROD                                                             22
    Case 2:25-cv-00054-DLC      Document 34-2     Filed 07/11/25   Page 33 of 130



degradation or reduction by coal mining and reclamation operations of the quality or
quantity of water outside of the mine permit area in a manner or to an extent that land
uses or beneficial uses of water are adversely affected, water quality standards are
violated, or water rights are impacted. The SCM MPDES permit (Permit MT0024619) and
stormwater permit (Permit MTR000514) have no changes associated with the proposed
mining plan modification.

       The Final EIS analyzes the direct, indirect, and cumulative impacts to surface
and groundwater resources from the proposed mining plan modification (Sections
4.5.1, 4.5.2, 5.2.4.1, and 5.2.4.2).

Finding

       OSMRE finds that Alternative 1, under SCM’s current water quality permits,
complies with the Clean Water Act.




Spring Creek Mine LBA1 ROD                                                           23
      Case 2:25-cv-00054-DLC        Document 34-2       Filed 07/11/25   Page 34 of 130



4.0        APPROVAL

        In consideration of the information presented above, I approve this OSMRE ROD
and the selection of Alternative 1 (Proposed Action), as described in Section 3.2 of
this ROD. The State of Montana has approved the MSUMRA permit, which sets forth
requirements to minimize environmental impacts that could potentially occur as a
result of the Proposed Action. Accordingly, I recommend approval without conditions
of the mining plan modification to the ASLM consistent with Alternative 1. This action
can be implemented following approval of the mining plan modification by the ASLM.

This ROD is effective on signature.




David A. Berry, Regional Director, Regions 5, 7, 8, 9, 10 and
11, Office of Surface Mining Reclamation and Enforcement




Spring Creek Mine LBA1 ROD                                                                24
Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 35 of 130




                         EXHIBIT C
7/11/25, 5:02 PM                                                    Global Greenhouse Gas Overview | US EPA
                    Case 2:25-cv-00054-DLC                   Document 34-2             Filed 07/11/25           Page 36 of 130




            Global Greenhouse Gas Overview
            On This Page:

            Global Emissions and Removals by Gas              Global Emissions by Economic Sector
            Trends in Global Emissions           Emissions by Country




            Global Emissions and Removals by Gas
            At the global scale, the key greenhouse gases emitted by human activities are:

                   Carbon dioxide (CO2) <https://epa.gov/ghgemissions/overview-greenhouse-gases#carbon-dioxide>: Fossil fuel use is the
                   primary source of CO2. CO2 can also be emitted from the landscape through deforestation, land clearance
                   for agriculture or development, and degradation of soils. Likewise, land management can also remove
                   additional CO2 from the atmosphere through reforestation, improvement of soil health, and other activities.
                   Methane (CH4) <https://epa.gov/ghgemissions/overview-greenhouse-gases#methane>: Agricultural activities, waste
                   management, energy production and use, and biomass burning all contribute to CH4 emissions.
                   Nitrous oxide (N2O) <https://epa.gov/ghgemissions/overview-greenhouse-gases#nitrous-oxide>: Agricultural activities,
                   such as fertilizer use, are the primary source of N2O emissions. Chemical production and fossil fuel
                   combustion also generates N2O.
                   Fluorinated gases (F-gases) <https://epa.gov/ghgemissions/overview-greenhouse-gases#f-gases>: Industrial processes,
                   refrigeration, and the use of a variety of consumer products contribute to emissions of F-gases, which
                   include hydrofluorocarbons (HFCs), perfluorocarbons (PFCs), and sulfur hexafluoride (SF6).

            Additional compounds in the atmosphere including solid and liquid aerosol and other greenhouse gases, such
            as water vapor and ground-level ozone can also impact the climate. Learn more about these compounds and
            climate change on our
            Basics of Climate Change page <https://epa.gov/climatechange-science/basics-climate-change#othergases>.




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                           1/7
7/11/25, 5:02 PM                                                      Global Greenhouse Gas Overview | US EPA
                   Case 2:25-cv-00054-DLC                     Document 34-2                Filed 07/11/25             Page 37 of 130




            Source: Data from IPCC (2022); Based on global emissions from 2019, details on the sectors and individual contributing sources can be
            found in the Contribution of Working Group III to the Sixth Assessment Report of the Intergovernmental Panel on Climate Change,
            Mitigation of Climate Change, Chapter 2.



            Global Emissions by Economic Sector
            Global greenhouse gas emissions can also be broken down by the economic activities that lead to their
            atmospheric release.[1]




                       Source: Data from IPCC (2022); Based on global emissions from 2019, details on the sectors and individual
                       contributing sources can be found in the Contribution of Working Group III to the Sixth Assessment Report of the
                       Intergovernmental Panel on Climate Change, Mitigation of Climate Change, Chapter 2.




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                                     2/7
7/11/25, 5:02 PM                                                      Global Greenhouse Gas Overview | US EPA
                    Case 2:25-cv-00054-DLC                    Document 34-2                Filed 07/11/25             Page 38 of 130


                   Electricity and Heat Production <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#electricity> (34% of
                   2019 global greenhouse gas emissions): The burning of coal, natural gas, and oil for electricity and heat is
                   the largest single source of global greenhouse gas emissions.
                   Industry <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#industry> (24% of 2019 global greenhouse gas
                   emissions): Greenhouse gas emissions from industry primarily involve fossil fuels burned on site at facilities
                   for energy. This sector also includes emissions from chemical, metallurgical, and mineral transformation
                   processes not associated with energy consumption and emissions from waste management activities.
                   (Note: Emissions from industrial electricity use are excluded and are instead covered in the Electricity and
                   Heat Production sector.)
                   Agriculture, Forestry, and Other Land Use <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#land-use-
                   and-forestry> (22% of 2019 global greenhouse gas emissions): Greenhouse gas emissions from this sector
                   come mostly from agriculture <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#agriculture> (cultivation
                   of crops and livestock) and deforestation. This estimate does not include the CO2 that ecosystems remove
                   from the atmosphere by sequestering carbon (e.g. in biomass, soils).[2]
                   Transportation <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#transportation> (15% of 2019 global
                   greenhouse gas emissions): Greenhouse gas emissions from this sector primarily involve fossil fuels burned
                   for road, rail, air, and marine transportation. Almost all (95%) of the world's transportation energy comes
                   from petroleum-based fuels, largely gasoline and diesel.[3]
                   Buildings <https://epa.gov/ghgemissions/sources-greenhouse-gas-emissions#commercial-and-residential> (6% of 2019 global
                   greenhouse gas emissions): Greenhouse gas emissions from this sector arise from onsite energy generation
                   and burning fuels for heat in buildings or cooking in homes. Note: Emissions from this sector are 16% when
                   electricity use in buildings is included in this sector instead of the Energy sector.

            Note on emissions sector categories.



            Trends in Global Emissions




            Source: Data from IPCC (2022); Based on global emissions from 2019, details on the sectors and individual contributing sources can be
            found in the Contribution of Working Group III to the Sixth Assessment Report of the Intergovernmental Panel on Climate Change,
            Mitigation of Climate Change, Chapter 2.




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                                     3/7
7/11/25, 5:02 PM                                                  Global Greenhouse Gas Overview | US EPA
                    Case 2:25-cv-00054-DLC                 Document 34-2            Filed 07/11/25           Page 39 of 130


            Global CO2 emissions from all sectors have significantly increased since 1850. The majority of this increase has
            resulted from increased fossil fuel consumption and industrial emissions. Agriculture, deforestation, and other
            land-use changes have been the second-largest contributors.[1]

            Emissions of non-CO2 greenhouse gases (CH4, N2O, and F-gases) have also increased significantly since 1850.

                   Globally, greenhouse gas emissions continued to rise across all sectors and subsectors, most rapidly in the
                   transport and industry sectors.
                   While the trend in emissions continues to rise, annual greenhouse gas growth by sector slowed in 2010 to
                   2019, compared to 2000 to 2009, for energy and industry, however remained roughly stable for transport.
                   The trend for for AFOLU remains more uncertain, due to the multitude of drivers that affect emissions and
                   removals for land use, land-use change and forestry.
                   Greenhouse gas emissions from industry, buildings and transport sectors are driven by
                      rising demand for construction materials and manufactured products,
                      increasing floor space per capita,
                      increasing building energy use,
                      travel distances, and vehicle size and weight.

            To learn more about past and projected global emissions of non-CO2 gases, please see the EPA report, Global
            Non-CO2 Greenhouse Gas Emission Projections & Mitigation Potential: 2015-2050 <https://epa.gov/global-mitigation-non-
            co2-greenhouse-gases/global-non-co2-greenhouse-gas-emission-projections>. For further insights into mitigation strategies
            specifically within the U.S. forestry and agriculture sectors, refer to the latest Climate Economic Analysis report
            on Greenhouse Gas Mitigation Potential in U.S. Forestry and Agriculture <https://epa.gov/climate-change/climate-
            economic-analysis>.




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                         4/7
7/11/25, 5:02 PM                                                   Global Greenhouse Gas Overview | US EPA
                   Case 2:25-cv-00054-DLC                   Document 34-2              Filed 07/11/25            Page 40 of 130


            Emissions by Country




            Source: Data from Climate Watch; Climate Watch Historical GHG Emissions (1990-2020). 2023. Washington, DC: World Resources
            Institute. Available online at: https://www.climatewatchdata.org/ghg-emissions?end_year=2021&start_year=1990



            In 2020, the top ten greenhouse gas emitters were China, the United States, India, the European Union, Russia,
            Indonesia, Brazil, Japan, Iran, and Canada. These data include CO2, CH4, N2O, and fluorinated gas emissions
            from energy, agriculture, forestry and land use change, industry, and waste. Together, these top ten countries
            represent approximately 67% of total greenhouse gas emissions in 2020.

            Emissions and sinks related to changes in land use are not included in these estimates. However, changes in
            land use can be important: estimates indicate that net global greenhouse gas emissions from agriculture,
            forestry, and other land use were approximately 12 billion metric tons of CO2 equivalent,[2] or about 21% of
            total global greenhouse gas emissions.[3] In areas such as the United States <https://epa.gov/ghgemissions/sources-
            greenhouse-gas-emissions#land-use-and-forestry> and Europe, changes in land use associated with human activities
            have the net effect of absorbing CO2, partially offsetting the emissions from deforestation in other regions.



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                   Case 2:25-cv-00054-DLC                 Document 34-2              Filed 07/11/25           Page 41 of 130


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                                                                                                     Gases: Emissions and
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                                                                                                     <https://cfpub.epa.gov/ghgdata/n
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                                                                                                     onco2>
            2021 <https://www.eia.gov/outlooks/ieo/data/pdf/ref/l01_r.pdf>, (February
            2021), www.eia.gov/aeo                                                                   Capacity Building for
                                                                                                     National GHG Inventories
                                                                                                     <https://epa.gov/ghgemissions/ca
                                                                                                     pacity-building-paris-agreement-
                                                                                                     reporting>


                                                                                                 Other resources

                                                                                                     UNFCCC GHG Data
                                                                                                     Interface
                                                                                                     <https://unfccc.int/topics/mitigati
                                                                                                     on/resources/registry-and-
                                                                                                     data/ghg-data-from-unfccc>

                                                                                                     PRIMAP
                                                                                                     <https://primap.org/primap-
                                                                                                     hist/>

                                                                                                     European Commission
                                                                                                     Emission Database for
                                                                                                     Global Atmospheric
                                                                                                     Research
                                                                                                     <https://edgar.jrc.ec.europa.eu/>

                                                                                                     World Development
                                                                                                     Indicators
                                                                                                     <https://datatopics.worldbank.or
                                                                                                     g/world-development-
                                                                                                     indicators/>

                                                                                                     Climate Watch
                                                                                                     <https://www.climatewatchdata.o
                                                                                                     rg/>




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                            6/7
7/11/25, 5:02 PM                                                  Global Greenhouse Gas Overview | US EPA
                   Case 2:25-cv-00054-DLC                 Document 34-2            Filed 07/11/25           Page 42 of 130



                                                                                                     Carbon Dioxide and
                                                                                                     Information Analysis
                                                                                                     Center (CDIAC)
                                                                                                     <https://data.ess-
                                                                                                     dive.lbl.gov/portals/cdiac>

                                                                                                     Greenhouse Gas Emissions
                                                                                                     from Energy Data Explorer
                                                                                                     (IEA)
                                                                                                     <https://www.iea.org/data-and-
                                                                                                     statistics/data-tools/greenhouse-
                                                                                                     gas-emissions-from-energy-data-
                                                                                                     explorer>




            Last updated on March 31, 2025




https://www.epa.gov/ghgemissions/global-greenhouse-gas-overview                                                                          7/7
Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 43 of 130




                         EXHIBIT D
    Case 2:25-cv-00054-DLC             Document 34-2      Filed 07/11/25   Page 44 of 130
Report on Evaluating U.S. Grid Reliability and Security




  Resource Adequacy Report
  Evaluating the Reliability and Security of the United
  States Electric Grid
  July 2025
       Case 2:25-cv-00054-DLC            Document 34-2      Filed 07/11/25      Page 45 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  Acknowledgments
  This report and associated analysis were prepared for DOE purposes to evaluate both the current
  state of resource adequacy as well as future pressures resulting from the combination of
  announced retirements and large load growth.

  It was developed in collaboration with and with assistance from the Pacific Northwest National
  Laboratory (PNNL) and National Renewable Energy Laboratory (NREL). We thank the North
  American Electric Reliability Corporation (NERC) for providing data used in this study, the Telos
  Corporation for their assistance in interpreting this data, and the U.S Energy Information
  Administration (EIA) for their dissemination of historical datasets. In addition, thank you to NREL
  for providing synthetic weather data created by Evolved Energy Research for the Regional Energy
  Deployment System (ReEDS) model.

   DOE acknowledges that the resource adequacy analysis that was performed in support of this
   study could benefit greatly from the in-depth engineering assessments which occur at the regional
   and utility level. The DOE study team built the methodology and analysis upon the best data that
   was available. However, entities responsible for the maintenance and operation of the grid have
   access to a range of data and insights that could further enhance the robustness of reliability
   decisions, including resource adequacy, operational reliability, and resilience.

   Historically, the nation’s power system planners would have shared electric reliability information
   with DOE through mechanisms such as EIA-411, which has been discontinued. Thus, one of the
   key takeaways from this study process is the underscored “call to action” for strengthened
   regional engagement, collaboration, and robust data exchange which are critical to addressing
   the urgency of reliability and security concerns that underpin our collective economic and national
   security.




U.S. Department of Energy                                                                            i
        Case 2:25-cv-00054-DLC                       Document 34-2                 Filed 07/11/25             Page 46 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  Table of Contents
  Acknowledgments ........................................................................................................................i
  Background to this Report .......................................................................................................... vi
  Executive Summary ................................................................................................................... 1
  1      Modeling Methodology ......................................................................................................10
      1.1 Modeling Resource Adequacy .........................................................................................13
      1.2 Planning Years and Weather Years ................................................................................15
      1.3 Load Modeling..…………… .............................................................................................15
      1.4 Transfer Capabilities and Import Export Modeling ...........................................................18
      1.5 Perfect Capacity Additions ……………………………………………………………………..19
  2      Regional Analysis ..............................................................................................................20
      2.1 MISO…………….…………………. ..................................................................................20
      2.2 ISO-NE…………………………….. ...................................................................................23
      2.3 NYISO……………………….. ...........................................................................................25
      2.4 PJM…………..……………………………………………………………………………………27
      2.5 SERC…………..………………………………………………………………………………….30
      2.6
      SPP………..………………………………………………………………………………………Error!
      Bookmark not defined.
      2.7 CAISO+………………………….. .....................................................................................35
      2.8 West Non-CAISO……………. .........................................................................................37
      2.9 ERCOT………………………… ........................................................................................40
  Appendix A - Generation Calibration and Forecast ................................................................. A-1
  Appendix B - Representing Canadian Transfer Limits ............................................................. B-1
  References .............................................................................................................................C-1
  EO 14262................................................................................................................................C-3




U.S. Department of Energy                                                                                                                  ii
       Case 2:25-cv-00054-DLC               Document 34-2            Filed 07/11/25        Page 47 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  List of Figures
  Figure 1. Mean Annual LOLH by Region (2030) – Plant Closures .................................. 6
  Figure 2. Mean Annual LOLH by Region (2030) – No Plant Closures ............................ 6
  Figure 3. Mean Annual NUSE by Region (2030) -Plant Closures ................................... 8
  Figure 4. Tuned Perfect Capacity (MW) By Region ........................................................ 9
  Figure 5. TPRs used in NERC ITCS ............................................................................. 10
  Figure 6. Simplified Overview of Model ......................................................................... 14
  Figure 7. 2024 to 2030 Projected Data Center Load Additions ..................................... 16
  Figure 8. New Data Center Build (% Split by ISO/RTO) (2030 Estimated).................... 17
  Figure 9. Mean Peak Load by RTO (Current Case vs 2030 Case) ............................... 18
  Figure 10. MISO Max Daily Load in the Current System versus 2030 .......................... 21
  Figure 11. MISO Generation Capacity by Technology and Scenario ............................ 21
  Figure 12. ISO-NE Max Daily Load in the Current System versus 2030 ....................... 23
  Figure 13. ISO-NE Generation Capacity by Technology and Scenario ......................... 24
  Figure 14. NYISO Max Daily Load in the Current System versus 2030 ........................ 25
  Figure 15. NYISO Generation Capacity by Technology and Scenario .......................... 26
  Figure 16. PJM Max Daily Load in the Current System versus 2030 ............................ 28
  Figure 17. PJM Generation Capacity by Technology and Scenario .............................. 28
  Figure 18. SERC Max Daily Load in the Current System versus 2030.......................... 30
  Figure 19. SERC Generation Capacity by Technology and Scenario ........................... 31
  Figure 20. SPP Max Daily Load in the Current System versus 2030 ............................ 33
  Figure 21. SPP Generation Capacity by Technology and Scenario .............................. 33
  Figure 22. CAISO+ Max Daily Load in the Current System versus 2030 ...................... 35
  Figure 23. CAISO+ Generation Capacity by Technology and Scenario ........................ 36
  Figure 24. West Non-CAISO Max Daily Load in the Current System versus 2030 ....... 38
  Figure 25. West Non-CAISO Generation Capacity by Technology and Scenario ......... 38
  Figure 26. ERCOT Max Daily Load in the Current System versus 2030 ....................... 41
  Figure 27. ERCOT Generation Capacity by Technology and Scenario ......................... 41




U.S. Department of Energy                                                                                          iii
       Case 2:25-cv-00054-DLC              Document 34-2          Filed 07/11/25        Page 48 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  List of Tables
  Table 1. Summary Metrics Across Cases ....................................................................... 7
  Table 2. Summary of MISO Reliability Metrics .............................................................. 20
  Table 3. Nameplate Capacity by MISO Subregion and Technology (MW) .................... 22
  Table 4. Summary of ISO-NE Reliability Metrics ........................................................... 23
  Table 5. Nameplate Capacity by ISO-NE Subregion and Technology (MW)................. 24
  Table 6. Summary of NYISO Reliability Metrics ............................................................ 25
  Table 7. Nameplate Capacity by NYISO Subregion and Technology (MW) .................. 26
  Table 8. Summary of PJM Reliability Metrics ................................................................ 27
  Table 9. Nameplate Capacity by PJM Subregion and Technology (MW) ...................... 29
  Table 10. Summary of SERC Reliability Metrics ........................................................... 30
  Table 11. Nameplate Capacity by SERC Subregion and Technology (MW) ................. 31
  Table 12. Summary of SPP Reliability Metrics .............................................................. 32
  Table 13. Nameplate Capacity by SPP Subregion and Technology (MW) .................... 34
  Table 14. Summary of CAISO+ Reliability Metrics ........................................................ 35
  Table 15. Nameplate Capacity by CAISO+ Subregion and Technology (MW) .............. 36
  Table 16. Summary of West Non-CAISO Reliability Metrics ......................................... 37
  Table 17. Nameplate Capacity by West Non-CAISO Subregion and Technology (MW)39
  Table 18. Summary of ERCOT Reliability Metrics ......................................................... 40
  Table 19. Nameplate Capacity for ERCOT and by Technology (MW) .......................... 42

  Additional figures and tables in appendices




U.S. Department of Energy                                                                                      iv
         Case 2:25-cv-00054-DLC            Document 34-2        Filed 07/11/25   Page 49 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  List of Acronyms
  AI                        Artificial Intelligence
   CAISO                    California Independent System Operator
   DOE                      U.S. Department of Energy
   EIA                      Energy Information Administration
   EO                       Executive Order
   EPRI                     Electric Power Research Institute
   ERCOT                    Electric Reliability Council of Texas
   EUE                      Expected Unserved Energy
   FERC                     Federal Energy Regulatory Commission
  GADS                      Generating Availability Data System
  ISO                       Independent System Operator
  ISO-NE                    ISO New England Inc.
  ITCS                      Interregional Transfer Capability Study
  LBNL                      Lawrence Berkeley National Laboratory
  LOLE                      Loss of Load Expectation
  LOLH                      Loss of Load Hours
  LTRA                      Long-Term Reliability Assessment
  MISO                      Midcontinent Independent System Operator
  NERC                      North American Electric Reliability Corporation
  NREL                      National Renewable Energy Laboratory
  NYISO                     New York Independent System Operator
  PJM                       PJM Interconnection, LLC
  PNNL                      Pacific Northwest National Laboratory
  ReEDS                     Regional Energy Deployment System
  RTO                       Regional Transmission Organization
  SERC                      SERC Reliability Corporation
  TPR                       Transmission Planning Region
  USE                       Unserved Energy




U.S. Department of Energy                                                                         v
       Case 2:25-cv-00054-DLC            Document 34-2      Filed 07/11/25    Page 50 of 130
  Report on Evaluating U.S. Grid Reliability and Security




  Background to this Report
  On April 8, 2025, President Trump issued Executive Order 14262, "Strengthening the Reliability
  and Security of the United States Electric Grid.” EO 14262 builds on EO 14156, “Declaring a
  National Emergency (Jan. 20, 2025),” which declared that the previous administration had driven
  the Nation into a national energy emergency where a precariously inadequate and intermittent
  energy supply and increasingly unreliable grid require swift action. The United States’ ability to
  remain at the forefront of technological innovation depends on a reliable supply of energy and the
  integrity of our Nation’s electrical grid.

  EO 14262 mandates the development of a uniform methodology for analyzing current and
  anticipated reserve margins across regions of the bulk power system regulated by the Federal
  Energy Regulatory Commission (FERC). Among other things, EO 14262 requires that such
  methodology accredit generation resources based on the historical performance of each
  generation resource type. This report serves as DOE’s response to Section 3(b) of EO 14262 by
  delivering the required uniform methodology to identify at-risk region(s) and guide reliability
  interventions. The methodology described herein and any analysis it produces will be assessed
  on a regular basis to ensure its usefulness for effective action among industry and government
  decision-makers across the United States.




U.S. Department of Energy                                                                         vi
    Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25      Page 51 of 130
Report on Evaluating U.S. Grid Reliability and Security




Executive Summary
Our Nation possesses abundant energy resources and capabilities such as oil and gas, coal, and
nuclear. The current administration has made great strides—such as deregulation, permitting
reform, and other measures—to enable addition of more energy infrastructure crucial to the
utilization of these resources. However, even with these foundational strengths, the accelerated
retirement of existing generation capacity and the insufficient pace of firm, dispatchable
generation additions (partly due to a recent focus on intermittent rather than dispatchable sources
of energy) undermine this energy outlook.

Absent decisive intervention, the Nation’s power grid will be unable to meet projected demand for
manufacturing, re-industrialization, and data centers driving artificial intelligence (AI) innovation.
A failure to power the data centers needed to win the AI arms race or to build the grid infrastructure
that ensures our energy independence could result in adversary nations shaping digital norms
and controlling digital infrastructure, thereby jeopardizing U.S. economic and national security.

Despite current advancements in the U.S. energy mix, this analysis underscores the urgent
necessity of robust and rapid reforms. Such reforms are crucial to powering enough data centers
while safeguarding grid reliability and a low cost of living for all Americans.

Key Takeaways
    •   Status Quo is Unsustainable. The status quo of more generation retirements and less
        dependable replacement generation is neither consistent with winning the AI race and
        ensuring affordable energy for all Americans, nor with continued grid reliability (ensuring
        “resource adequacy”). Absent intervention, it is impossible for the nation’s bulk power
        system to meet the AI growth requirements while maintaining a reliable power grid and
        keeping energy costs low for our citizens.
    •   Grid Growth Must Match Pace of AI Innovation. The magnitude and speed of projected
        load growth cannot be met with existing approaches to load addition and grid
        management. The situation necessitates a radical change to unleash the transformative
        potential of innovation.
    •   Retirements Plus Load Growth Increase Risk of Power Outages by 100x in 2030.
        The retirement of firm power capacity is exacerbating the resource adequacy problem.
        104 GW of firm capacity are set for retirement by 2030. This capacity is not being replaced
        on a one-to-one basis and losing this generation could lead to significant outages when
        weather conditions do not accommodate wind and solar generation. In the “plant closures”
        scenario of this analysis, annual loss of load hours (LOLH) increased by a factor of a
        hundred.
    •   Planned Supply Falls Short, Reliability is at Risk. The 104 GW of retirements are
        projected to be replaced by 209 GW of new generation by 2030; however, only 22 GW
        would come from firm baseload generation sources. Even assuming no retirements, the
        model found increased risk of outages in 2030 by a factor of 34.




                                                                                                    1
    Case 2:25-cv-00054-DLC              Document 34-2          Filed 07/11/25        Page 52 of 130
Report on Evaluating U.S. Grid Reliability and Security



    •   Old Tools Won’t Solve New Problems. Antiquated approaches to evaluating resource
        adequacy do not sufficiently account for the realities of planning and operating modern
        power grids. At a minimum, modern methods of evaluating resource adequacy need to
        incorporate frequency, magnitude, and duration of power outages; move beyond
        exclusively analyzing peak load time periods; and develop integrated models to enable
        proper analysis of increasing reliance on neighboring grids.


     This report clearly demonstrates the need for rapid and robust reform to address
    resource adequacy issues across the Nation. Inadequate resource adequacy will
          hinder the development of new manufacturing in America, slow the re-
    industrialization of the U.S. economy, drive up the cost of living for all Americans,
   and eliminate the potential to sustain enough data centers to win the AI arms race.



Developing a Uniform Methodology
DOE’s resource adequacy methodology assesses the U.S. electric grid's ability to meet future
demand through 2030. It provides a forward-looking snapshot of resource adequacy that is tied
to electricity supply and new load growth, systematically exploring a range of dimensions that can
be compared across regions. As detailed in the methodology section of this report, the model is
derived from the North American Electric Reliability Corporation (NERC) Interregional Transfer
Capability Study (ITCS) which leverages time-correlated generation and outages based on actual
historic data. 1 A deterministic approach 2 simulates system stress in all hours of the year and
incorporates varied grid conditions and operating scenarios based on historical events:

    •   Demand for Electricity – Assumed Load Growth: The methodology accounts for the
        significant impact of data centers, particularly those supporting AI workloads, on electricity
        demand. Various organizations' projections for incremental data center electricity use by
        2030 range widely (35 GW to 108 GW). DOE adopted a national midpoint assumption of
        50 GW by 2030, aligning with central projections from Electric Power Research Institute
        (EPRI) 3 and Lawrence Berkeley National Laboratory (LBNL). 4 This 50 GW was allocated
        regionally using state-level growth ratios from S&P's forecast, 5 reflecting infrastructure
        characteristics, siting trends, and market activity; and, mapped to NERC Transmission
        Planning Regions (TPRs).



1. This model differs from traditional peak hour reliability assessments in that it explicitly simulates grid
performance hour-by-hour across multiple weather years with finer geographic detail and optimized inter-
regional transfers, and explores various retirement and build-out scenarios. Furthermore, the DOE
approach integrates weather-synchronized outage data.
2. Deterministic approaches evaluate resource adequacy using relatively stable or fixed assumptions about
the representation of the power system. Probabilistic approaches incorporate data and advanced modeling
techniques to represent uncertainty that require more computing power. Deterministic was chosen for this
analysis for transparency and to model detailed historic system conditions.
3. EPRI, “Powering Intelligence: Analyzing Artificial Intelligence and Data Center Energy Consumption,”
March 2024, https://www.epri.com/research/products/3002028905.
4. Shehabi, A., et al., “2024 United States Data Center Energy Usage Report,”
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                                                                                                           2
    Case 2:25-cv-00054-DLC                    Document 34-2                 Filed 07/11/25             Page 53 of 130
Report on Evaluating U.S. Grid Reliability and Security



        An additional 51 GW of non-data center load was modeled using NERC data, historical
        loads (2019-2023), and simulated weather years (2007-2013), adjusted by the Energy
        Information Administration’s (EIA) 2022 energy forecast, with interpolation between 2024
        and 2033 to estimate 2030 demand.

    •   Supply of Electricity – Assumed Generation Retirements and Additions: Between
        the current system and the projected 2030 system, the model considers three scenarios
        for generator retirements and additions. These scenarios were selected to describe the
        metrics of interest and how they change during certain assumptions of generation growth
        and retirements.

The resource adequacy standard (or criterion) is the measure that defines the desired level of
adequacy needed for a given system. Conceptually, a resource adequacy criterion has two
components—metrics and target levels—that determine whether a system is considered
adequate. Comprehensive resource adequacy metrics 6 are incorporated in this analysis to
capture the magnitude and duration of system stress events:

    •   Magnitude of Outages – Normalized Unserved Energy (NUSE): Measures the amount
        of unmet electrical energy demand because of insufficient generation or transmission,
        typically measured in megawatt hours (MWh).

        While USE describes the absolute amount of energy not delivered, it is less useful when
        comparing systems of different size or across different periods. Normalizing, by dividing
        by total load over a whole period (for example, a year) allows comparison of these metrics
        across different system sizes, demand levels, and periods of analysis. For example, 100
        MWh of USE in a small, isolated microgrid can be more impactful than 100 MWh of USE
        in a larger regional grid that serves millions of people. USE is normalized by dividing by
        total load:

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Although the use of NUSE is not standardized in the U.S. today, 7 several system operators
domestically and across the world have begun using NUSE as a useful metric.

    •   Duration of Outages – Loss of Load Hours (LOLH): Measures the expected duration
        of power outages when a system's load exceeds its available generation capacity. At the
        core, LOLH helps assess how frequently and for how long the power system is likely to
        experience insufficient supply, providing a picture of reliability in terms of time. LOLH is
        calculated as both a total and average value per year, in addition to the maximum
        percentage of load lost in any given hour per year.

6. In the interest of technical accuracy, and separate from their contextualization in the main text, NUSE
is more precisely a measure of volume that is expressed as a percentage. Similarly, 2.4 hours of LOLH
represents the cumulative sum of distinct periods of load loss, not a singular, continuous duration.
7. There is no common planning criterion for this metric in North America. NERC's Long-Term Reliability
Assessment employs a normalized expected unserved energy (NEUE) metric to define target risk levels
for each region. Grid operators, such as ISO-NE, have also considered NUSE in energy adequacy
studies. For example, see ISO-NE, “Regional Energy Shortfall Threshold (REST): ISO’s Current Thinking
Regarding Tail Selection,” April 2025, https://www.iso-ne.com/static-
assets/documents/100022/a09_rest_april_2025.pdf.




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     Case 2:25-cv-00054-DLC               Document 34-2           Filed 07/11/25        Page 54 of 130
Report on Evaluating U.S. Grid Reliability and Security



Reliability Standard
DOE’s methodology recognizes that the traditional 1-in-10 loss of load expectation (LOLE)
criterion is insufficient for a complete assessment of resource adequacy and risk profile. This
antiquated criterion is not calculated uniformly and fails to adequately account for crucial factors
such as the duration and magnitude of potential outages. 8 To provide a comprehensive
understanding of system reliability and, specifically, to complement current resource adequacy
standards while informing the creation of new criteria, the methodology uses the following
reliability standard:

    •   Duration of Outages: No more than 2.4 hours of lost load in an individual year. 9 This
        translates into one day of lost load in ten years to meet the 1-in-10 criteria.

    •   Magnitude of Outages: No more than an NUSE of 0.002%. 10 This means that the total
        amount of energy that cannot be supplied to customers is 0.002% of the total energy
        demanded in a given year.

Achieving Reliability Standard
    •   Perfect Capacity Surplus/Deficit: Defined as the amount of generation capacity (in MW)
        a region would need to achieve specified threshold conditions. Based on these thresholds,
        this standard helps answer the hypothetical question of how much more (or less) power
        plant capacity is needed for a power system to be considered “perfectly reliable” according
        to pre-defined standards. This methodology employs this perfect capacity metric to identify
        the amount of capacity needed to remedy potential shortfalls (or excesses) in generation.

Key Results Summary
This analysis developed three separate cases for 2030. The “Plant Closures” case assumes all
announced retirements occur plus mature generation additions based on NERC’s Tier 1
resources category, 11 which encompasses completed and under-construction power generation
projects, as well as those with firm-signed and approved interconnection service or power
purchase agreements. The “No Plant Closures” case assumes no retirements plus mature
additions. A “Required Build” case further compares the impacts of retirements on perfect
capacity additions needed to return 2030 to the current system level of reliability.


8. While 1-in-10 analyses have evolved, industry experts have raised concerns about its effectiveness to
address future system risks. Concerns include energy constraints that arise from intermittent resources,
increasing battery storage, limited fuel supplies, and the shifting away of peak load periods from times of
supply shortfalls.
9. The "1-in-10 year" reliability standard for electricity grids means that, on average, there should be no
more than one day (24 hours) of lost load over a ten-year period. This translates to a maximum of 2.4 hours
of lost load per year.
10. This analysis targets NUSE below 0.002% for each region because this is the target NERC uses to
represent high risk in resource adequacy analyses. Estimates used in industry and analyzed recently range
from 0.0001% to 0.003%.
10. Mature generation additions are based on NERC’s 2024 LTRA Tier 1 resources, which assume that
only projects considered very mature in the development pipeline will be built. For example, Tier 1 additions
are those with signed interconnection agreements or power purchase agreements, or included in an
integrated resource plan, indicating a high degree of certainty in their addition to the grid. Full details of the
retirement and addition assumptions can be found in the methodology section of this report.




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    Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25      Page 55 of 130
Report on Evaluating U.S. Grid Reliability and Security



DOE ran simulations using 12 different years of historical weather. Every hour was based on
actual data for wind, solar, load, and thermal availability to stress test the grid under a range of
realistic weather conditions. The benefit of this approach is that it allows for transparent review of
how actual conditions manifest themselves in capacity shortfalls. For all scenarios, LOLH and
NUSE are calculated and used to compare how they change based on generation growth,
retirements, and potential weather conditions.

    •   Current System: Supply of power (generation) and demand for power (load) consistent
        with 2024 NERC Long-Term Reliability Assessment (LTRA), including 2023 actual
        generation plus Tier 1 additions for 2024.

    •   Plant Closures: This case assumes 104 GW of announced retirements based on NERC
        estimates including approximately 71 GW of coal and 25 GW of natural gas, which closely
        align with retirement numbers in EIA’s 2025 Annual Energy Outlook. In addition, this case
        assumes 100% of 2024 NERC LTRA Tier 1 additions totaling 209 GW are constructed by
        2030. This includes 20 GW of new natural gas, 31 GW of additional 4-hour batteries, 124
        GW of new solar and 32 GW of incremental wind. Details of the breakdown can be found
        in Appendix A.

    •   No Plant Closures: This case adds all the Tier 1 NERC additions but assumes no
        retirements.

    •   Required Build: To understand how much capacity may need to be added to reach
        reliability targets, the analysis adds hypothetical perfect capacity (which is idealized
        capacity that has no outages or profile) until a NUSE target of 0.002% is realized in each
        region. This scenario includes the same assumptions about retirements as our Plant
        Closures scenario described above.

As shown in the figures and tables below, the model shows a significant decline in all reliability
metrics between the current system scenario and the 2030 Plant Closures scenario. Most notably,
there is a hundredfold increase in annual LOLH from 8.1 hours per year in the current case to 817
hours per year in the 2030 Plant Closures. In the worst weather year assessed, the total lost load
hours increase from 50 hours to 1,316 hours.




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    Case 2:25-cv-00054-DLC             Document 34-2      Filed 07/11/25     Page 56 of 130
Report on Evaluating U.S. Grid Reliability and Security




                    Figure 1. Mean Annual LOLH by Region (2030) – Plant Closures




                   Figure 2. Mean Annual LOLH by Region (2030) – No Plant Closures




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    Case 2:25-cv-00054-DLC               Document 34-2           Filed 07/11/25          Page 57 of 130
Report on Evaluating U.S. Grid Reliability and Security



                                   Table 1. Summary Metrics Across Cases

       Reliability Metric                                                  2030 Projection
                                                Current           Plant       No Plant       Required
                                                System          Closures      Closures         Build
       AVERAGE OVER 12 WEATHER YEARS
       Average Loss of Load Hours                         8.1        817.7         269.9           13.3
       Normalized Unserved Energy (%)               0.0005          0.0465        0.0164        0.00048
       WORST WEATHER YEAR
       Annual Loss of Load Hours                          50         1316            658                53
       Normalized Unserved Load (%)                 0.0033          0.1119        0.0552          0.002




Current System Analysis
Analysis of the current system shows all regions except ERCOT have less than 2.4 hours of
average loss of load per year and less than 0.002% NUSE. This indicates relative reliability for
most regions based on the average indicators of risk used in this study. In the current system
case, ERCOT would be expected to experience on average 3.8 LOLH annually going forward and
a NUSE of 0.0032%. When looking at metrics in the worst weather years, regions meet or exceed
additional criteria. All regions experienced less than 20% of lost load in any hour.

However, PJM, ERCOT, 12 and SPP experienced significant loss of load events during 2021 and
2022 winter storms Uri and Elliot which translated into more than 20 hours of lost load. This results
in a concentration of lost load within certain years such that some regions exceeded 3-hours-per-
year of lost load. It is worth noting that in the case of PJM and SPP, the current system model
shortfalls occurred within subregions rather than for the entire ISO footprint.




12. ERCOT has since winterized its generation fleet and did not suffer any outages during Winter Storm
Elliot.




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    Case 2:25-cv-00054-DLC             Document 34-2      Filed 07/11/25     Page 58 of 130
Report on Evaluating U.S. Grid Reliability and Security



2030 Model Results




                     Figure 3. Mean Annual NUSE by Region (2030) -Plant Closures

Key Findings – Plant Closures Case:

    •   Systemwide Failures: All regions except ISO-NE and NYISO failed reliability thresholds.
        These two regions did not have additional AI/data center (AI/DC) load growth modeled.

    •   Loss of Load Hours (LOLH): Ranged from 7 hours/year in CAISO to 430 hours/year in
        PJM.

    •   Load Shortfall Severity: Max shortfall reached as high as 43% of hourly load in PJM;
        31% in CAISO.

    •   Normalized Unserved Energy: Normalized values ranged from 0.0032% (non-CAISO
        West) to 0.1473% (PJM), far exceeding thresholds of 0.002%.

    •   Extreme Events: Most regions experienced ≥3 hours of unserved load in at least one
        year. PJM had 1,052 hours in its worst year.

    •   Spatial Takeaways: Subregions in PJM, MISO, and SERC met thresholds—indicating
        possible benefits from transmission—but SPP and CAISO failed in all subregions.

Key Findings – No Plant Closures Case:

    •   Improved System Performance: Most regions avoided loss of load events. PJM, SPP,
        and SERC still experienced shortfalls.

    •   Regional Failures:




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    Case 2:25-cv-00054-DLC             Document 34-2      Filed 07/11/25      Page 59 of 130
Report on Evaluating U.S. Grid Reliability and Security



            ο   PJM: 214 hours/year average, 0.066% normalized unserved energy, 644 hours in
                worst year, max 36% of load lost.

            ο   SPP: 48 hours/year average, 0.008% normalized unserved energy, max 19% load
                lost.

            ο   ERCOT: 20 average hours, 0.028% normalized unserved energy, 101 max
                hours/year, peak shortfall of 27%.

            ο   SERC-East: Generally adequate (avg. 1 hour/year, 0.0003% NUSE), but Elliot
                storm in 2022 caused 42 hours of shortfall.

The overall takeaway is that avoiding announced retirements improves grid reliability, but
shortfalls persist in PJM, SPP, ERCOT, and SERC, particularly in winter.

Required Build
This required build analysis quantifies "hypothetical capacity," defined as power that is 100%
reliable and available that is needed to resolve the shortfalls. Known in industry as “perfect
capacity,” this metric is utilized to avoid the complex decision of selecting specific generation
technologies, as that is ultimately an optimization of reliability against cost considerations.
Nevertheless, it serves as a valuable indicator, illustrating either the magnitude of a resource gap
or the scale of large load that will be unable to interconnect. For the Required Build case, this
hypothetical capacity was calculated by adding new generating resources to each region until a
target of 0.002% of NUSE is reached.

The table below shows the tuned perfect capacity results. For the current system, this analysis
identifies an additional 2.4 MW of capacity to meet the NUSE target for PJM, which experiences
shortfalls due to the winter storm Elliot historical weather year. By 2030, without considering any
generation retirements, an additional 12.5 GW of generating capacity is needed across PJM,
SPP, and SERC to reduce shortfalls.




                                                                                           2024-Current   2030-No Plant
                                                                                           System (MW)    Closures (MW)

                                                                              PJM         2400            10,500

                                                                              SERC-E                      500

                                                                              SPP-N                       1,500

                                                                              ERCOT       1600            10500

                                                                              Total       4000            23000

                                                                                      Perfect Capacity/Additions




                           Figure 4. Tuned Perfect Capacity (MW) By Region




                                                                                                            9
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25     Page 60 of 130
Report on Strengthening U.S. Grid Reliability and Security




    1 Modeling Methodology
The methodology uses a zonal PLEXOS 13 model with hourly time-synchronous datasets for load,
generation, and interregional transfer for the 23 U.S. subregions (referred to as TPRs in this
study) 14 including ERCOT (see Figure 5 below). While ERCOT operates outside of FERC's
general jurisdiction, 15 it provides a valuable case for understanding broader reliability and
resource adequacy challenges in the U.S. electric grid, and FPA Section 202(c) allows DOE to
issue emergency orders to ERCOT.

We base this analysis on actual weather and power plant outage data from 2007 to 2023 using
NERC’s ITCS 16 base dataset. DOE specifically decided to start this analysis with the ITCS dataset
since it is a complete representation of the interconnected electrical system for the lower 48 and
it has been thoroughly reviewed by industry experts in a public and transparent process. DOE
has in turn made modifications to the dataset to fit the needs of this study. The contents of this
section focus on those modifications which DOE implemented for purposes of this study.

PLEXOS is an industry-trusted simulation tool used for energy optimization, resource adequacy,
and production cost modeling. This study leverages PLEXOS’ ability to exercise an hourly
production cost model to determine the balance between loads, generation, and imports for each
region. Modeling was carried out using a deterministic approach that evaluates whether a power
system has sufficient resources to meet projected demand under a pre-defined set of conditions
which correspond to the past few years of real-world events. The model ultimately determines the
amount of unmet load if generation resources and imports are not sufficient for meeting the load
in each discrete time period.




                                  Figure 5. TPRs used in NERC ITCS


13. Energy Exemplar, “PLEXOS,” https://www.energyexemplar.com/plexos.
14. The TPRs match the regional subdivisions in the NERC ITCS study, itself based on FERC’s
transmission planning regions.
15. Transmission within ERCOT is intrastate commerce. 16 U.S.C. § 824(b)(1) (provisions applying to
“the transmission of electric energy in interstate commerce”).
16. NERC "Integrated Transmission and Capacity System (ITCS)," accessed June 25, 2025,
https://www.nerc.com/pa/RAPA/Pages/ITCS.aspx.




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    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25     Page 61 of 130
Report on Strengthening U.S. Grid Reliability and Security



This methodology developed a current model and series of scenarios to explore how different
assumptions impact resource adequacy. This sensitivity analysis includes assumptions regarding
load growth, generation build-outs and retirements, and transfer capabilities. By comparing the
results of the current model with the scenario results, we can assess how generation retirements
and load growth affect future generation needs.

The assessment uses data from 2007–2013 (synthetic weather data) and 2019–2023 (historical
data). A brief summary of the methodological assumptions is provided here, with additional details
available in the relevant appendixes.

    •   Solar and Wind Availability – Created from historical output from EIA 930 data, with bias
        correction of any nonhistorical data to match regional capacity factors, as calibrated to EIA
        930 data. 17 Synthetic years used 2018 technology characteristics from NREL based on
        the Variable Energy Potential (reV) model, then mapped to synthetic weather year data.
        See Appendix A for more details.

    •   Thermal Availability – Calculated according to NERC LTRA capacity data, adjusted for
        historical outages and derates, primarily with GADS data. GADS data does not capture
        historical outages caused by fuel supply interruptions. 18

    •   Hydroelectric Availability – Historical outputs are processed by NERC to establish
        monthly power rating limits and energy budgets, but energy budgets are not enforced in
        alignment with how they were treated in the ITCS. The team evaluated performance under
        different energy budget restrictions, but did not find significant differences during peak
        hours, justifying NERC ITCS assumptions that hydroelectric resources could generally be
        dispatched to peak load conditions. Later work may benefit from exploring drought
        scenarios or combinations of weather and hydrological years, where energy budgets may
        be significantly decreased.

    •   Outages and Derates – Data for the actual data period (2019–2023) are based on
        historical forced outage rates and deratings. Outage and deratings data for the synthetic
        period (2007–2013) are based on the historical relationships observed between
        temperature and outages (see Appendix G of the NERC ITCS Final Report for more
        information).

    •   Load Projections and AI Growth – Load growth through 2030 is assumed to match
        NERC 2024 ITCS projections, scaling the 12 weather years to meet 2030 projections.
        Additional AI and data center load is then added according to reports from EPRI and S&P
        regarding potential futures.

    •   Transfer Capabilities and Imports/Exports - Each subregion is treated as a “copper
        plate,” with the transfer capacity between each subregion defined by the availability of
        transmission pathways. It is an approximation that assumes all resources are connected
        to a single point, simplifying the transmission system within the model. Subregions are
        generally assumed to exhaust their own capacity before utilizing capacity available from
        their neighbors. Once the net remaining capacity is at or below 10 percent of load, the
        subregion begins to use capacity from a neighbor.

17. See ITCS Final Report, Appendix F, for the method that was implemented to scale synthetic weather
years 2007–2013.
18. See ITCS Final Report, Appendix G, for outage and derate methods.




                                                                                                    11
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25      Page 62 of 130
Report on Strengthening U.S. Grid Reliability and Security



            o   Imports are assumed to be available up to the minimum total transfer capacity and
                spare generation in the neighboring subregion.

            o   To the extent the remaining capacity after transmission and demand response falls
                below the 6 percent or 3 percent needed for error forecasting and ancillary
                services, depending on the scenario, the model projects an energy shortfall. See
                “Outputs” in the appendix for more details.

            o   To ensure that transfers are dispatched only after local resources are exhausted,
                a wheeling charge of $1,000 is applied for every megawatt-hour of energy
                transferred between regions through transmission pathways.
    •   Storage – In alignment with the NERC ITCS methodology, storage was split into pumped
        hydro and battery storage. Pumped hydro was assumed to have 12 hours duration at rated
        capacity with 30% round-trip losses, while battery storage was assumed to have four
        hours and 13% round-trip losses. Storage is dispatched as an optimization to minimize
        USE and demand response usage under various constraints and is recharged during
        periods of surplus energy.
    •   Demand Response – Demand Response (DR) is treated as a supply-side resource and
        dynamically scheduled after all other regional resources and imports are exhausted. It is
        modeled with both capacity (MW) and energy (MWh) limitations and assumed to have
        three hours of availability at capacity but could be spread across more than three hours
        up to the energy limit. DR capacity was based on LTRA Form A data submissions for
        “Controllable and Dispatchable Demand Response – Available”, or firm, controllable DR
        capacity.
    •   Retirements – Retirements as per the NERC LTRA 2024 model. To disaggregate
        generation capacity from the NERC assessment areas to the ITCS regions, EIA 860 plant
        level data are used to tabulate generation retirement or addition capacity for each ITCS
        region and NERC assessment area. Disaggregation fractions are then calculated by
        technology based on planned retirements through 2030. See Appendix B for further
        information. Retirements are categorized into two categories:
        1. Announced Retirements: Includes both confirmed retirements and announced
           retirements. Confirmed retirements are generators formally recognized by system
           operators as having started the official retirement process and are assumed to retire
           on their expected date. To go from LTRA regions to ITCS regions, weighting factors
           are derived in the same way as in the generation set, based on EIA retirement data.
           In addition to confirmed retirements, announced retirements are generators that have
           publicly stated retirement plans that have not formally notified system operators and
           initiated the retirement process. This disaggregation method for announced
           retirements mirrors used for confirmed retirements. 19
        2. None: Removes all retirements (after 2024) for comparison. Delaying or canceling
           some near-term retirements may not be feasible, but this case can help determine how
           much retirement contributes to some of the adequacy challenges in some regions.

    •   Additions – Assumes only projects that are very mature in the pipeline (such as those
        with a signed interconnection agreement) will be built. This data is based on projects

19. If announced retirements were less than or equal to confirmed retirements, the model adjusted the
announced retirement to equal confirmed.




                                                                                                        12
      Case 2:25-cv-00054-DLC           Document 34-2         Filed 07/11/25       Page 63 of 130
Report on Strengthening U.S. Grid Reliability and Security



        designated as Tier 1 in the NERC 2024 LTRA and are mapped to ITCS regions with EIA
        860-derived weighting factors similar to those described for the retirements above. See
        Appendix A for further information.
    •   Perfect Capacity Required - Estimates perfect capacity (which is idealized capacity that
        has no outages or profile and is described in Section 2) until we reach a pre-defined
        reliability target. We used a metric of NUSE given the deterministic nature of the model,
        to be consistent with evolving metrics, and to be consistent with NERC’s recent LTRAs.
        We targeted NUSE of below 0.002% for each region.



1.1     Modeling Resource Adequacy
This model calculates several reliability metrics to assess resource adequacy. These metrics were
calculated using PLEXOS simulation outputs, which report the USE (in MWh) for all 8,760 hourly
periods in each of the 12 weather years:

    •   USE refers to the amount of electricity demand that could not be met due to insufficient
        generation and/or transmission capacity. Several USE-derived indicators were
        considered:

            o   Normalized USE (percentage %): The total amount of unserved load over 12 years
                of weather data, normalized by dividing by total load, and reported as a
                percentage. 20

            o   Mean Annual USE (GWh): The 12-year average of each region’s total USE in each
                weather year. This mean value represents the average annual USE across
                weather variability.

            o   Mean Max Unserved Power (GW): The 12-year average of each region’s
                maximum USE value in each weather year. This mean value characterizes the
                typical non-coincident peak stress on system reliability.

            o   % Max Unserved Power: The Mean Max Unserved Power expressed as a
                percentage of the average native load during those peak unserved hours for each
                region. This percentage value provides a normalized measure of the severity of
                peak unserved events relative to demand.

            o   Total number of customers without power. The Mean Max Unserved Power
                expressed as the equivalent number of typical U.S. persons assuming a ratio of
                17,625 persons/MW lost. This estimation contextualizes the effects of the outage
                on average Americans.

    •   Loss of Load Hours (LOLH) refers to the number of hours during which the system
        experiences USE (i.e., any hour with non-zero USE). Two LOLH-based indicators were
        considered:




20. NUSE can be reported as parts per million or as a percentage (or parts per hundred); though for
power system reliability, this would include several zeros after the decimal point.




                                                                                                      13
    Case 2:25-cv-00054-DLC             Document 34-2          Filed 07/11/25       Page 64 of 130
Report on Strengthening U.S. Grid Reliability and Security



            o   Mean Annual LOLH: for each weather year and TPR, we count the total number
                of hours with USE across all 8,760 hours, and we then take the average of those
                12 totals. Annual LOLH Distribution is represented in box and whisker plots for 12
                samples, each sample corresponding to a unique weather year.

            o   Max Consecutive LOLH (hours) 21: The longest continuous period with reported
                USE in each weather year.

It should be noted that USE is not an indication that reliability coordinators would allow this level
of load growth to jeopardize the reliability of the system. Rather, it represents the unrealizable AI
and data center load growth under the given assumptions for generator build outs by 2030,
generator retirements by 2030, reserve requirements, and potential load growth. These numbers
are used as indicators to determine where it may be beneficial to encourage increased generation
and transmission capacity to meet an expected need.

This study does not employ common probabilistic industry metrics such as EUE or LOLE due to
their reliance on probabilistic modeling. Instead, deterministic equivalents are used.




                                  Figure 6. Simplified Overview of Model




21. One caveat on the maximum consecutive LOLH and max USE values is in how storage is dispatched
in the model. Storage is dispatched to minimize the overall USE and is indifferent to the peak depth or the
duration of the event. This may construe some of the max USE and max consecutive LOLH values to be
higher than if storage was dispatched to minimize these values.




                                                                                                        14
      Case 2:25-cv-00054-DLC           Document 34-2         Filed 07/11/25   Page 65 of 130
Report on Strengthening U.S. Grid Reliability and Security



1.2     Planning Years and Weather Years
For the planning year (2030), historical weather year data are applied based on conditions
between 2007 and 2024 to calculate load, wind and solar generation, and hydro generation.
Dispatchable capacity (including dispatchable hydro capacity) is calculated through adjustment
of the 2024 LTRA capacity data for historical outages from GADS data. Storage assets are
scheduled to arbitrage hourly energy margins or else charge during periods of high energy
margins (surplus resources) and discharge during periods of lower energy margins.



1.3     Load Modeling

Data Center Growth
Several utilities and financial and industry analysts identify data centers, particularly those
supporting AI workloads, as a key driver of electricity demand growth. Multiple organizations have
developed a wide range of projections for U.S. data center electricity use through 2030 and
beyond, each using distinct methodologies tailored to their institutional expertise.

These datasets were used to explore reasonable boundaries for what different parts of the
economy envision for the future state of AI and data center (AI/DC) load growth. For the purposes
of this study, rather than focusing on any specific analysis, a more generic sweep was performed
across AI/DC load growth and the various sensitivities that fit within those assumptions, as
summarized below:

    •   McKinsey & Company projects ~10% annual growth in U.S. data center electricity
        demand, reaching 2,445 TWh by 2050. Their model blends internal scenarios with public
        signals, including announced projects, capital investment, server shipments, and chip-
        level power trends, supported by third-party market data.

    •   Lawrence Berkeley National Laboratory (LBNL) uses a bottom-up approach based on
        historical and projected IT equipment shipments, paired with assumptions on power draw,
        utilization, and infrastructure efficiency (PUE, WUE). Their projections through 2028
        account for AI hardware adoption, operational shifts, and evolving cooling technologies.

    •   EPRI combines public data, expert input, and historical trends to define four national
        growth scenarios, low to higher, for 2023–2030, reflecting data processing demand,
        efficiency improvements, and AI-driven load impacts.

    •   S&P Global merges technology and power-sector models, evaluating grid readiness and
        facility growth under varying demand scenarios. Their forecasts consider AI adoption,
        efficiency trends, grid and permitting constraints, on-site generation, and offshoring risk,
        resulting in a wide range of outcomes.




                                                                                                 15
    Case 2:25-cv-00054-DLC                    Document 34-2       Filed 07/11/25      Page 66 of 130
Report on Strengthening U.S. Grid Reliability and Security



These projections show wide variation, with 2030 electricity demand ranging from approximately
35 GW to 108 GW of average load. Given this uncertainty, including differences in hardware
intensity, thermal management, siting assumptions, and behind-the-meter generation, the
modeling team adopted a national midpoint assumption of approximately 50 GW by 2030.


          120                50 GW National Midpoint
                                                                                                 109

          100


             80
    Load Additions




                                                                               66          68

             60                                    51                52
                                                            50
    (GW)




                                35       38
             40       33


             20


               0
                     LBNL      EPRI     EPRI McKinsey      EPRI     DOE      EPRI         LBNL   S&P
                      Low      Low     Medium              High     Model    Higher       High




                            Figure 7. 2024 to 2030 Projected Data Center Load Additions



Figure 2 above displays a benchmark reflecting the median across major studies and aligns with
central projections from EPRI and LBNL. Using a single planning midpoint avoids double counting
and enables consistent load allocation across national transmission and resource adequacy
models.




                                                                                                       16
    Case 2:25-cv-00054-DLC             Document 34-2          Filed 07/11/25   Page 67 of 130
Report on Strengthening U.S. Grid Reliability and Security



Data Center Allocation Method
To allocate the 50 GW midpoint regionally, the team used state-level growth ratios from S&P’s
forecast. These ratios reflect factors such as infrastructure, siting trends, and projected market
activity. The modeling team mapped the state-level projections to NERC TPRs, ensuring
transparent and repeatable regional allocation. While other methods exist, this approach ensured
consistency with the broader modeling framework.

 45%
 40%
 35%
 30%
 25%
 20%
 15%
 10%
  5%
  0%




        EPRI Low    EPRI Medium    EPRI High    EPRI Higher   McKinsey   S&P   DOE Model

                Figure 8. New Data Center Build (% Split by ISO/RTO) (2030 Estimated)

Non-Data Center Load Modeling
The current electricity demand projections were built from NERC data, using historical load
(2019–2023) and simulated weather years (2007–2013). These were adjusted based on the EIA’s
2022 energy forecast. To estimate 2030 demand, the team interpolated between 2024 and 2033,
scaling loads to reflect energy use and seasonal peaks. NERC provided datasets to address
anomalies and include behind-the-meter and USE.

Given the rapid emergence of AI/DC loads, additional steps were taken to account for this
category of demand. It is difficult to determine how much AI/DC load is already embedded in
NERC LTRA forecast, for example, the 2024 LTRA saw more than 50GW increase from 2023,
signaling a major shift in utility expectations. To benchmark existing AI/DC contribution, DOE
assumed base 2023 AI/DC load equaled the EPRI low-growth case of 166 TWh.




                                                                                                17
      Case 2:25-cv-00054-DLC           Document 34-2         Filed 07/11/25    Page 68 of 130
Report on Strengthening U.S. Grid Reliability and Security



Overall Impact on Projected Peak Load
As a result of the methods applied above, the average year co-incident peak load is projected to
grow from a current average peak of 774 GW to 889 GW in 2030. This represents a 15% increase
or 2.3% growth rate per year. Excluding the impact of data centers, this would amount to a 51GW
increase from 774 GW to 826 GW which represents a 1.1% annual growth rate.




                    Figure 9. Mean Peak Load by RTO (Current Case vs 2030 Case)




1.4     Transfer Capabilities and Import Export Modeling
The methodology assumes electricity moves between subregions, when conditions start to
tighten. Each region has a certain amount of capacity available, and the methodology determines
if there is enough to meet the demand. When regions reach a “Tight Margin Level” of 10% of
capacity, i.e., if a region’s available capacity is less than 110% of load, it will start transferring
from other regions if capacity is available. A scarcity factor is used to determine which regions to
transfer from and at what fraction – those with a greater amount of reserve capacity will transfer
more. A region is only allowed to export above when it is above the Tight Margin Level.

Total Transfer Capability (TTC) was used and is the sum of the Base Transfer Level and the First
Contingency Incremental Transfer Capability. These were derived from scheduled interchange
tables or approximated from actual line flows. It should be noted that the TTC does not represent
a single line, but rather multiple connections between regions. It is similar to path limits used by
many entities but may have different values.

Due to data and privacy limitations, the Canadian power system was not modeled directly as a
combination of generation capacity and demand. Instead, actual hourly imports were used from
nearly 20 years of historical data, along with recent trends (generally less transfers available
during peak hours), to develop daily limits on transfer capabilities. See Appendix B for more details
on Canadian transfer limits.




                                                                                                   18
      Case 2:25-cv-00054-DLC           Document 34-2         Filed 07/11/25   Page 69 of 130
Report on Strengthening U.S. Grid Reliability and Security



1.5     Perfect Capacity Additions
To understand how much capacity may need to be added to reach approximate reliability targets,
we tuned two scenarios by adding hypothetical perfect capacity to reach the reliability threshold
based on NUSE. 22 Today, NERC uses a threshold of 0.002% to indicate regions are at high risk
of resource adequacy shortfalls. In addition, several system operators, including the Australia
Energy Market Operator and Alberta Electric System Operator, are using NUSE thresholds in the
range of 0.001% to 0.003%. Several U.S. entities are considering lower thresholds for U.S. power
systems in the range of 0.0001% to 0.0002%. 23

For this analysis, we target NUSE below 0.002% for each region to align with NERC definitions.
We iteratively ran the model, hand-tuning the “perfect capacity” to be as small as possible while
reaching NUSE values below 0.002% in all regions. 24 As the work was done by hand with a limited
number of iterations (15), this should not be considered the minimum possible capacity to
accomplish these targets. Further, because the perfect capacity can be located in various places,
there would be multiple potential solutions to the problem. These scenarios represent the
approximate quantity of perfect capacity each region would require (beyond announced
retirements and mature generation additions only) that would lead to Medium or Low risk based
on the NERC metrics for USE.

Due to some regions with zero USE, the tuned cases do not reach the same level of adequacy,
where the national average is 0.00045% vs. 0.00013%. Due to transmission and siting selection
of perfect capacity, there could be many solutions.




22. We are not using the standard term “expected unserved energy” because we are not running a
probabilistic model, so we do not have the full understanding of long-term expectations
23. MISO, “Resource Adequacy Metrics and Criteria Roadmap,” December 2024.
https://cdn.misoenergy.org/Resource%20Adequacy%20Metrics%20and%20Criteria%20Roadmap667168
.pdf.
24. NERC, “Evolving Criteria for a Sustainable Power Grid,” July 2024.
https://www.nerc.com/pa/RAPA/ra/Reliability%20Assessments%20DL/Evolving_Planning_Criteria_for_a_
Sustainable_Power_Grid.pdf.




                                                                                               19
      Case 2:25-cv-00054-DLC             Document 34-2          Filed 07/11/25        Page 70 of 130
Report on Strengthening U.S. Grid Reliability and Security




      2 Regional Analysis
This section presents more regional details on resource adequacy according to this analysis. For
each of the nine Regional Transmission Organizations (RTOs) and sub-regions, comprehensive
summaries are provided of reliability metrics, load assumptions, and composition of generation
stacks.

2.1     MISO25
In the current system model and the No Plant Closures cases,
MISO did not experience shortfall events. MISO’s minimum
spare capacity in the tightest year was negative, showing that
adequacy was achieved by importing power from neighbors. In
the Plant Closures case, MISO experienced significant
shortfalls, with key reliability metrics exceeding each of the
threshold criteria defined for the study.




                                Table 2. Summary of MISO Reliability Metrics
                                                                              2030 Projection
 Reliability Metric                           Current                            No Plant       Required
                                                             Plant Closures
                                              System                             Closures         Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                             -              37.8                 -              -
 Normalized Unserved Energy (%)                         -           0.0211                  -              -
 Unserved Load (MWh)                                    -          157,599                  -              -
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                  -              124                  -              -
 Normalized Unserved Load (%)                           -           0.0702                  -              -
 Unserved Load (MWh)                                    -          524,180                  -              -



Load Assumptions

MISO’s peak load was roughly 130 GW in the current model and projected to increase to roughly
140 GW by 2030. Approximately 6 GW of this relates to new data centers being installed (12% of
U.S. total).




25. Following the initial data collection for this report, MISO issued its 2025 Summer Reliability
Assessment. Based on that report, NERC revised evaluations from its 2024 LTRA and reclassified the
MISO footprint from being an ‘elevated risk’ to ‘high risk’ in the 2028–2031 timeframe, depending on new
resource additions/retirements. While DOE’s analysis is based on the previously reported figures, DOE is
committed to assessing the implications of updated data on overall resource adequacy and providing
technical updates on findings, as appropriate.




                                                                                                           20
     Case 2:25-cv-00054-DLC             Document 34-2           Filed 07/11/25       Page 71 of 130
Report on Strengthening U.S. Grid Reliability and Security




                                                                       Subregion           2024           2030
                                                                       MISO-W            37,913          40,981
                                                                       MISO-C            35,387          39,243
                                                                       MISO-S            36,476          38,596
                                                                       MISO-E            23,167          23,758
                                                                       Total            130,136     139,846




                   Figure 10. MISO Max Daily Load in the Current System versus 2030



Generation Stack

Total installed generating capacity for 2024 was approximately 207 GW. 26 In 2030, 21 GW of new
capacity was added leading to 228 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 32 GW of capacity was retired such that net retirements in the Plant Closures
case were -11 GW, or 196 GW of overall installed capacity on the system.


                          2030       2030 No
             Current
 Subregion                Plant        Plant
             System
                        Closures     Closures

 MISO-W       71,612     67,453       77,605
 MISO-C       51,982     47,735       58,823
 MISO-S       54,511     52,756       59,710
 MISO-E       29,213     28,105       32,255
 Total       207,319     196,049     228,393


                    Figure 11. MISO Generation Capacity by Technology and Scenario

MISO’s generation mix was comprised primarily of natural gas, coal, wind, and solar. In 2024,
natural gas comprised 31% of nameplate, wind comprised 20%, coal 18%, and solar 14%. In
2030, most retirements come from coal and natural gas while additions occur for solar, batteries,
and wind. In addition, the model assumed 3 GW of rooftop solar and 8 GW of demand response.




26. The total installed capacity numbers reported in this regional analysis section do not reflect the
generating capability of all resources during stress conditions.




                                                                                                             21
    Case 2:25-cv-00054-DLC                 Document 34-2            Filed 07/11/25           Page 72 of 130
Report on Strengthening U.S. Grid Reliability and Security



                  Table 3. Nameplate Capacity by MISO Subregion and Technology (MW)
                    Coal       Gas      Nuclear    Oil    Other   Storage   Hydro   Solar     Wind      Total
      2024         37,914     64,194    11,127    2,867   8,717   5,427     2,533   32,826    41,715   207,319
        MISO-W     12,651     13,608     2,753    1,491   2,613    200      777     8,109     29,411   71,612
         MISO-C    15,050     10,307     2,169    494     2,211    1,272     769    12,361    7,350    51,982
         MISO-S     5,493     31,052     5,100    589     2,469     54      845     8,315      596     54,511
         MISO-E     4,720     9,227      1,105    292     1,424    3,901     143    4,042     4,359    29,213
      Additions       0       2,535       0       330      0      1,929      0      14,354    1,926    21,074
        MISO-W        0        537        0       172      0       374       0      3,552     1,358     5,993
         MISO-C       0        407        0        57      0       934       0      5,103      339      6,841
         MISO-S       0       1,226       0        68      0        9        0      3,868      27       5,199
         MISO-E       0        364        0        34      0       611       0      1,831      201      3,042
      Closures     (24,913)   (6,597)     0       (324)   (140)    (16)     (83)      0       (272)    (32,345)
        MISO-W     (8,313)    (1,398)     0       (168)   (56)      0       (25)      0       (192)    (10,152)
         MISO-C    (9,889)    (1,059)     0       (56)     (7)      (3)     (25)      0        (48)    (11,088)
         MISO-S    (3,609)    (3,191)     0       (67)    (55)      (0)     (28)      0        (4)     (6,954)
         MISO-E    (3,102)    (948)       0       (33)    (21)     (13)      (5)      0        (28)    (4,150)




                                                                                                                  22
      Case 2:25-cv-00054-DLC              Document 34-2        Filed 07/11/25         Page 73 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.2     ISO-NE
In the current system model and the No Plant
Closures case, ISO-NE did not experience
shortfall events. The region maintained
adequacy throughout the study period through
reliance on imports. In the Plant Closures case,
ISO-NE still did not exceed any key reliability
thresholds, despite moderate retirements. This
finding is partly due to the absence of additional
AI or data center load growth modeled in the
region. Accordingly, no additional perfect
capacity was deemed necessary by 2030 to
meet the study’s reliability standards.
                                Table 4. Summary of ISO-NE Reliability Metrics
                                                                              2030 Projection
 Reliability Metric                            Current          Plant            No Plant          Required
                                               System         Closures           Closures            Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                              -               -                  -                 -
 Normalized Unserved Energy (%)                          -               -                  -                 -
 Unserved Load (MWh)                                     -               -                  -                 -
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                   -               -                  -                 -
 Normalized Unserved Load (%)                            -               -                  -                 -
 Unserved Load (MWh)                                     -               -                  -                 -
 Max Unserved Load (MW)                                  -               -                  -                 -

Load Assumptions

ISO-NE’s peak load was roughly 28 GW in the current model and projected to increase to roughly
31 GW by 2030. No additional AI/DCs were projected to be installed.




                                                                      Subregion             2024        2030
                                                                      ISO-NE              28,128       31,261
                                                                      Total               28,128       31,261




                      Figure 12. ISO-NE Max Daily Load in the Current System versus 2030




                                                                                                              23
    Case 2:25-cv-00054-DLC                        Document 34-2             Filed 07/11/25          Page 74 of 130
Report on Strengthening U.S. Grid Reliability and Security



Generation Stack

Total installed generating capacity for 2024 was approximately 40 GW. In 2030, 5.5 GW of new
capacity was added leading to 45.5 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 2.7 GW of capacity was retired such that net generation change in the Plant
Closures case was +11 GW, or 42.8 GW of overall installed capacity on the system.




                                  2030           2030
                 Current
 Subregion                        Plant        No Plant
                 System
                                Closures       Closures
 ISO-NE          39,979           42,845       45,534
 Total           39,979           42,845       45,534


                       Figure 13. ISO-NE Generation Capacity by Technology and Scenario

ISO-NE’s generation mix was comprised primarily of natural gas, solar, oil, and nuclear. In 2024,
natural gas comprised 39% of nameplate, solar comprised 17%, oil 14%, and nuclear 8%. In
2030, most retirements come from coal and natural gas while additions occur for solar, storage,
and wind. The model assumed nearly 2 GW of rooftop solar and 1.6 GW of energy storage.


                     Table 5. Nameplate Capacity by ISO-NE Subregion and Technology (MW)
                          Coal        Gas      Nuclear     Oil    Other   Storage   Hydro   Solar    Wind    Total
          2024             541       15,494     3,331     5,710   1,712   1,628     1,911   7,099    2,553   39,979
              ISONE        541       15,494     3,331     5,710   1,712   1,628     1,911   7,099    2,553   39,979
          Additions         0          90         0       181      0      1,607      0      2,183    1,495   5,555
              ISONE        0           90         0       181      0      1,607      0      2,183    1,495   5,555
          Closures      (534)        (1,875)      0       (203)   (77)      0        0       0        0      (2,690)
              ISONE       (534)      (1,875)      0       (203)   (77)      0        0       0        0      (2,690)




                                                                                                                       24
      Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25            Page 75 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.3     NYISO
In both the current system model and the No
Plant Closures case, NYISO maintained
reliability and did not exceed any shortfall
thresholds. Adequacy was preserved through
reliance on imports. In the Plant Closures case,
NYISO experienced shortfalls but average
annual LOLH remaining well below the 2.4-hour
threshold and NUSE under the 0.002%
standard. The worst weather year produced only
6 hours of lost load and a peak unserved load of
914 MW. Given the modest impact of
retirements and no additional AI/data center
load modeled, the study concluded that NYISO
would not require additional perfect capacity to
remain reliable through 2030.
                               Table 6. Summary of NYISO Reliability Metrics
                                                                               2030 Projection
 Reliability Metric                           Current          Plant              No Plant          Required
                                              System         Closures             Closures            Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                           0.2                0.5                 -                 -
 Normalized Unserved Energy (%)                  0.00001             0.0001                  -                 -
 Unserved Load (MWh)                                   18               209                  -                 -
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                 2                  6                  -                 -
 Normalized Unserved Load (%)                     0.0001             0.0013                  -                 -
 Unserved Load (MWh)                                 216              2,505                  -                 -
 Max Unserved Load (MW)                              194                914                  -                 -

Load Assumptions

NYISO’s peak load was roughly 36 GW in the current system model and projected to increase to
roughly 38 GW by 2030. No additional AI/DCs were projected to be installed.




                                                             Subregion               2024         2030
                                                             NYISO                 35,669        37,844
                                                             Total                 35,669        37,844



                 Figure 14. NYISO Max Daily Load in the Current System versus 2030




                                                                                                               25
    Case 2:25-cv-00054-DLC                      Document 34-2            Filed 07/11/25           Page 76 of 130
Report on Strengthening U.S. Grid Reliability and Security



Generation Stack

Total installed generating capacity for 2024 was approximately 46 GW. In 2030, 5.5 GW of new
capacity was added leading to 51 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 1 GW of capacity was retired such that net generation in the Plant Closures case
was +4 GW, or 50 GW of overall installed capacity on the system.




                                 2030          2030
                Current
 Subregion                       Plant       No Plant
                System
                               Closures      Closures
 NYISO           45,924        50,396        51,444
 Total           45,924        50,396        51,444


                        Figure 15. NYISO Generation Capacity by Technology and Scenario

NYISO’s generation mix was comprised primarily of natural gas, solar, and hydro. In 2024, natural
gas comprised 50% of total nameplate generation, solar comprised 14%, and hydro 11%. In 2030,
most retirements come from natural gas while additions occur for solar and wind. The model
assumed 6 GW of rooftop solar and nearly 1 GW of demand response.


                     Table 7. Nameplate Capacity by NYISO Subregion and Technology (MW)
                          Coal       Gas      Nuclear    Oil    Other   Storage   Hydro   Solar     Wind    Total
         2024              0       22,937      3,330    2,631   1,194   1,460     4,915   6,749     2,706   45,924
                NYISO      0       22,937      3,330    2,631   1,194   1,460     4,915   6,749     2,706   45,924
         Additions         0            0       0        15      0        0        0      3,604     1,902   5,521
                NYISO      0            0       0        15      0        0        0      3,604     1,902   5,521
         Closures          0       (1,030)      0       (19)     0        0        0       0         0      (1,049)
                NYISO      0       (1,030)      0       (19)     0        0        0       0         0      (1,049)




                                                                                                                      26
      Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25        Page 77 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.4     PJM
In the current system model, PJM
experienced shortfalls, but they were
below the required threshold. In the
No Plant Closures case, shortfalls
increased dramatically, with 214
average annual LOLH and peak
unserved load reaching 17,620 MW,
indicating growing strain even
without retirements. In the Plant
Closures case, reliability metrics
worsened significantly, with annual
LOLH surging to over 430 hours per
year and NUSE reaching 0.1473%—
over 70 times the accepted threshold. During the worst weather year, 1,052 hours of load were
shed. To restore reliability, the study found that PJM would require 10,500 MW of additional
perfect capacity by 2030.
                                Table 8. Summary of PJM Reliability Metrics
                                                                           2030 Projection
 Reliability Metric                           Current          Plant          No Plant       Required
                                              System         Closures         Closures         Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                           2.4          430.3             213.7           1.4
 Normalized Unserved Energy (%)                   0.0008          0.1473            0.0657       0.0003
 Unserved Load (MWh)                               6,891       1,453,513           647,893        2,536
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                29           1,052               644           17
 Normalized Unserved Load (%)                     0.0100          0.4580            0.2703       0.0031
 Unserved Load (MWh)                              82,687       1,453,513           647,893        2,536
 Max Unserved Load (MW)                            4,975          21,335            17,620        4,162




                                                                                                        27
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25   Page 78 of 130
Report on Strengthening U.S. Grid Reliability and Security



Load Assumptions

PJM’s peak load was roughly 162 GW in the current system model and projected to increase to
roughly 187 GW by 2030. Approximately 15 GW of this relates to new AI/DC being installed (29%
of U.S. total), primarily in PJM-S.




                                                                  Subregion          2024     2030
                                                                  PJM-W            81,541    92,378
                                                                  PJM-S            39,904    51,151
                                                                  PJM-E            41,003    43,118
                                                                  Total         162,269     186,627




                   Figure 16. PJM Max Daily Load in the Current System versus 2030



Generation Stack

Total installed generating capacity for 2024 was approximately 215 GW. In 2030, 39 GW of new
capacity was added leading to 254 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 17 GW of capacity was retired such that net generation in the Plant Closures case
was +22 GW, or 237 GW of overall nameplate capacity on the system.




                         2030        2030
             Current
 Subregion               Plant     No Plant
             System
                       Closures    Closures
 PJM-W       114,467    123,100     135,810
 PJM-S       39,951     48,850      50,667
 PJM-E       60,221     64,848      67,027
 Total       214,638    236,798     253,504
                   Figure 17. PJM Generation Capacity by Technology and Scenario

PJM’s generation mix was comprised primarily of natural gas, coal, and nuclear. In 2024, natural
gas comprised 39% of nameplate, coal comprised 19%, and nuclear 15%. In 2030, most
retirements come from coal and some natural gas and oil while significant additions occur for
solar plus lesser additions of wind, storage, and natural gas. The model assumed 9 GW of rooftop
solar and 7 GW of demand response.




                                                                                                 28
    Case 2:25-cv-00054-DLC                  Document 34-2            Filed 07/11/25            Page 79 of 130
Report on Strengthening U.S. Grid Reliability and Security



                    Table 9. Nameplate Capacity by PJM Subregion and Technology (MW)
                      Coal      Gas      Nuclear     Oil     Other   Storage   Hydro   Solar     Wind      Total
     2024            39,915    84,381    32,535    9,875     8,248   5,400     3,071   19,495    11,718   214,638
            PJM-W    34,917    39,056    16,557    1,933     3,926    383      1,252   6,379     10,065   114,467
            PJM-S    2,391     15,038     5,288    3,985     2,303   3,085     1,070   6,430      360     39,951
            PJM-E    2,608     30,287    10,690    3,956     2,019   1,932     749     6,686     1,294    60,221
     Additions         0       4,499       0         32      317     1,938      0      24,991    7,089    38,866
            PJM-W      0       2,082       0         6       135      855       0      12,176    6,089    21,343
            PJM-S      0        802        0         13      102      726       0      8,856      218     10,717
            PJM-E      0       1,615       0         13       81      357       0      3,958      783      6,806
     Closures       (13,253)   (1,652)     0       (1,790)   (11)      0        0        0         0      (16,706)
            PJM-W   (11,593)   (765)       0       (350)      (1)      0        0        0         0      (12,710)
            PJM-S    (794)     (294)       0       (722)      (6)      0        0        0         0      (1,817)
            PJM-E    (866)     (593)       0       (717)      (3)      0        0        0         0      (2,179)




                                                                                                                     29
      Case 2:25-cv-00054-DLC              Document 34-2       Filed 07/11/25         Page 80 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.5     SERC
In the current system model and the No Plant
Closures case, SERC maintained overall
adequacy,      though some          subregions—
particularly    SERC-East—faced emerging
winter reliability risks. In the Plant Closures
case, shortfalls became more severe, with
SERC-East experiencing increased unserved
energy and loss of load hours during extreme
cold events, including 42 hours of outages in a
single winter storm. The analysis identified that
planned retirements, combined with rising
winter load from electrification, would stress
the system. To restore reliability in SERC-East, the study found that 500 MW of additional perfect
capacity would be needed by 2030. Other SERC subregions performed adequately, but continued
monitoring is warranted due to shifting seasonal peaks and fuel supply vulnerabilities.
                                Table 10. Summary of SERC Reliability Metrics
                                                                             2030 Projection
 Reliability Metric                            Current          Plant           No Plant          Required
                                               System         Closures          Closures            Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                            0.3            8.1                 1.2             0.8
 Normalized Unserved Energy (%)                    0.0001         0.0041              0.0004          0.0002
 Unserved Load (MWh)                                  489         44,514               3,748           2,373
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                  4             42                  14              10
 Normalized Unserved Load (%)                      0.0006         0.0428              0.0042          0.0026
 Unserved Load (MWh)                                5,683        465,392              44,977           2,373
 Max Unserved Load (MW)                             2,373         19,381               6,359           5,859

Load Assumptions

SERC’s peak load was roughly 193 GW in the current system model and projected to increase to
roughly 209 GW by 2030. Approximately 7.5 GW of this relates to new AI/DCs being installed
(14% of U.S. total).




                                                                     Subregion             2024        2030
                                                                     SERC-C              50,787       52,153
                                                                     SERC-SE             48,235       54,174
                                                                     SERC-FL             58,882       62,572
                                                                     SERC-E              51,693       56,313
                                                                     Total              193,654      209,269



                      Figure 18. SERC Max Daily Load in the Current System versus 2030



                                                                                                             30
    Case 2:25-cv-00054-DLC                       Document 34-2             Filed 07/11/25           Page 81 of 130
Report on Strengthening U.S. Grid Reliability and Security



Generation Stack

Total installed generating capacity for 2024 was approximately 254 GW. In 2030, 26 GW of new
capacity was added leading to 279 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 19 GW of capacity was retired such that net generation change in the Plant
Closures case was +7 GW, or 260 GW of overall installed capacity on the system.


                                   2030         2030
                Current
 Subregion                         Plant      No Plant
                System
                                 Closures     Closures
 SERC-C             53,978        54,014      59,660
 SERC-SE            67,073        64,768      69,478
 SERC-FL            72,714        83,127      86,173
 SERC-E             59,914        58,513      63,973
 Total          253,680          260,423      279,285
                         Figure 19. SERC Generation Capacity by Technology and Scenario

SERC’s generation mix was comprised primarily of natural gas, coal, nuclear, and solar. In 2024,
natural gas comprised 45% of nameplate, coal comprised 18%, nuclear 12%, and solar 11%. In
2030, most retirements come from coal and natural gas while additions occur for solar and some
storage. The model assumed 3 GW of rooftop solar and 8 GW of demand response.


                     Table 11. Nameplate Capacity by SERC Subregion and Technology (MW)
                         Coal         Gas     Nuclear     Oil    Other   Storage   Hydro    Solar     Wind    Total
         2024           45,747      113,334   31,702     4,063   8,779   7,469     11,425   30,180    982    253,680
            SERC-C      13,348      20,127     8,280     148     1,887   1,884     4,995    2,328     982    53,978
           SERC-SE      13,275      29,866     8,018     915     2,493    1,662    3,260    7,584      0     67,073
           SERC-FL      4,346       47,002     3,502     1,957   3,198    538        0      12,172     0     72,714
            SERC-E      14,777      16,340    11,902     1,044   1,202   3,384     3,170    8,096      0     59,914
         Additions           0       6,898       0        0      381     2,254       0      16,073     0     25,606
            SERC-C           0       4,831       0        0       0        80        0       771       0      5,682
           SERC-SE           0        906        0        0       19       0         0      3,135      0      4,059
           SERC-FL           0       1,161       0        0      218     1,670       0      10,410     0     13,459
            SERC-E           0         0         0        0      144      504        0      1,757      0      2,405
         Closures      (14,075)     (4,115)      0       (672)    0        0         0        0        0     (18,862)
            SERC-C      (4,465)     (1,181)      0        0       0        0         0        0        0     (5,646)
           SERC-SE      (5,160)      (124)       0       (176)    0        0         0        0        0     (5,460)
           SERC-FL      (1,495)     (1,071)      0       (480)    0        0         0        0        0     (3,046)
            SERC-E      (2,955)     (1,739)      0       (16)     0        0         0        0        0     (4,710)




                                                                                                                        31
      Case 2:25-cv-00054-DLC             Document 34-2        Filed 07/11/25       Page 82 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.6     SPP
In the current system model, SPP experienced shortfalls, but
they were below the required threshold. Adequacy was
preserved through reliance on imports. In the No Plant
Closures case, SPP experienced persistent reliability
challenges, with average annual LOLH reaching
approximately 48 hours per year and peak hourly shortfalls
affecting up to 19% of demand. In the Plant Closures case,
system conditions deteriorated further, with unserved energy
and outage hours increasing substantially. These shortfalls
were concentrated in the northern subregion, which lacks the
firm generation and import capacity needed to meet peak
winter demand. The analysis determined that 1,500 MW of
additional perfect capacity would be needed in SPP by 2030
to restore reliability.




                                Table 12. Summary of SPP Reliability Metrics
                                                                           2030 Projection
 Reliability Metric                           Current          Plant          No Plant        Required
                                              System         Closures         Closures          Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                           1.7          379.6               47.8           2.4
 Normalized Unserved Energy (%)                   0.0002          0.0911            0.0081        0.0002
 Unserved Load (MWh)                                 541         313,797            27,697           803
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                20             556               186            26
 Normalized Unserved Load (%)                     0.0022          0.2629            0.0475        0.0027
 Unserved Load (MWh)                               6,492         907,518           163,775         9,433
 Max Unserved Load (MW)                              606          13,263             2,432           762




                                                                                                         32
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25     Page 83 of 130
Report on Strengthening U.S. Grid Reliability and Security



Load Assumptions

SPP’s peak load was roughly 57 GW in the current system model and projected to increase to
roughly 63 GW by 2030. Approximately 1.5 GW of this relates to new AI/DCs being installed (3%
of U.S. total).




                                                                   Subregion           2024     2030
                                                                   SPP-N              12,668   14,676
                                                                   SPP-S              44,898   48,337
                                                                   Total              57,449   62,891




                   Figure 20. SPP Max Daily Load in the Current System versus 2030



Generation Stack

Total installed generating capacity for 2024 was 95 GW. In 2030, 15 GW of new capacity was
added leading to 110 GW of capacity in the No Plant Closures case. In the Plant Closures case,
7 GW of capacity was retired such that net generation change in the 2030 Plant Closures case
was +8 GW, or 103 GW of overall installed capacity on the system.


                           2030       2030
             Current
 Subregion                 Plant    No Plant
             System
                         Closures   Closures
 SPP-N       20,065       20,679     22,385
 SPP-S       75,078       82,451     88,064
 Total       95,142      103,130    110,449


                      Figure 21. SPP Generation Capacity by Technology and Scenario

SPP’s generation mix was comprised primarily of wind, natural gas, and coal. In 2024, wind
comprised 36% of nameplate, natural gas comprised 32%, and coal 20%. In the 2030 case, most
retirements come from coal and natural gas while additions occur for wind, solar, storage, and
natural gas. The model assumed almost no rooftop solar and 1.3 GW of demand response.




                                                                                                   33
    Case 2:25-cv-00054-DLC                    Document 34-2            Filed 07/11/25          Page 84 of 130
Report on Strengthening U.S. Grid Reliability and Security



                      Table 13. Nameplate Capacity by SPP Subregion and Technology (MW)
                        Coal      Gas      Nuclear    Oil    Other   Storage   Hydro   Solar    Wind     Total
       2024            18,919    30,003     769      1,626   1,718   1,522     5,123   774      34,689   95,142
           SPP-N        5,089    3,467      304      504     519       8       3,041    91      7,041    20,065
              SPP-S    13,829    26,536     465      1,121   1,199   1,514     2,082   683      27,649   75,078
       Additions          0      1,094       0        7      462     1,390      0      5,288    7,066    15,306
           SPP-N          0       126        0        2      114       11       0      633      1,434    2,320
              SPP-S       0       968        0        5      348     1,379      0      4,655    5,632    12,987
       Closures        (5,530)   (1,732)     0       (56)     0        0        0       0         0      (7,318)
           SPP-N       (1,488)   (200)       0       (17)     0        0        0       0         0      (1,705)
              SPP-S    (4,042)   (1,532)     0       (39)     0        0        0       0         0      (5,613)




                                                                                                                   34
      Case 2:25-cv-00054-DLC              Document 34-2        Filed 07/11/25        Page 85 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.7     CAISO+
In the current system and No Plant Closures cases,
CAISO+ did not experience major reliability issues,
though adequacy was often maintained through
significant imports during tight conditions. In the Plant
Closures case, however, the region faced substantial
shortfalls, particularly during summer evening hours
when solar output declines. Average LOLH reached 7
hours per year, and the worst-case year showed load
shed events affecting up to 31% of demand. The
NUSE exceeded reliability thresholds, signaling the
system’s vulnerability to high load and low renewable
output periods.
                               Table 14. Summary of CAISO+ Reliability Metrics
                                                                             2030 Projection
 Reliability Metric                            Current          Plant           No Plant          Required
                                               System         Closures          Closures            Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                              -            6.8                  -                 -
 Normalized Unserved Energy (%)                          -        0.0062                   -                 -
 Unserved Load (MWh)                                     -        23,488                   -                 -
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                   -            21                   -                 -
 Normalized Unserved Load (%)                            -        0.0195                   -                 -
 Unserved Load (MWh)                                     -        73,462                   -                 -
 Max Unserved Load (MW)                                  -        12,391                   -                 -

Load Assumptions

CAISO+’s peak load was roughly 79 GW in the current system model and projected to increase
to roughly 82 GW by 2030. Approximately 2 GW of this relates to new AI/DCs being installed (4%
of U.S. total).




                                                                     Subregion             2024        2030
                                                                     CALI-N              29,366       34,066
                                                                     CALI-S              41,986       48,666
                                                                     Total               70,815       82,146




                      Figure 22. CAISO+ Max Daily Load in the Current System versus 2030




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    Case 2:25-cv-00054-DLC                       Document 34-2           Filed 07/11/25            Page 86 of 130
Report on Strengthening U.S. Grid Reliability and Security



Generation Stack

Total installed generating capacity for 2024 was approximately 117 GW. In 2030, 14 GW of new
capacity was added leading to 131 GW of capacity in the No Plant Closures case. In the Plant
Closures case, 8 GW of capacity was retired such that net closures in the Plant Closures case
were +6 GW, or 123 GW of overall installed capacity on the system.


                                  2030          2030
                 Current
 Subregion                        Plant       No Plant
                 System
                                Closures      Closures
 CALI-N          47,059           48,897       52,501
 CALI-S          69,866           74,041       78,308
 Total           116,925        122,938       130,809


                       Figure 23. CAISO+ Generation Capacity by Technology and Scenario

CAISO+’s generation mix was comprised primarily of natural gas, solar, storage, and hydro. In
2024, natural gas comprised 32% of nameplate, solar comprised 31%, storage 13%, and hydro
9%. In 2030, most retirements come from coal, natural gas, and nuclear while additions occur for
solar and storage. The model assumed 10 GW of rooftop solar and less than 1 GW of demand
response.


                     Table 15. Nameplate Capacity by CAISO+ Subregion and Technology (MW)
                         Coal        Gas      Nuclear    Oil   Other   Storage   Hydro    Solar     Wind     Total
          2024          1,816       37,434     5,582     185   3,594   14,670    10,211   35,661    7,773   116,925
             CALI-N        0        12,942     5,582     165   1,872   4,639     8,727    11,759    1,373   47,059
              CALI-S    1,816       24,492      0        20    1,722   10,031    1,483    23,902    6,400   69,866
          Additions        0         2,126      0         0     92     3,161       0      8,507       0     13,885
             CALI-N        0         735        0         0     44      757        0      3,906       0      5,442
              CALI-S       0         1,391      0         0     48     2,404       0      4,600       0      8,442
          Closures      (1,800)     (3,771)   (2,300)     0     0        0         0        0         0     (7,871)
             CALI-N        0        (1,304)   (2,300)     0     0        0         0        0         0     (3,604)
              CALI-S    (1,800)     (2,467)     0        0      0        0         0        0         0     (4,267)




                                                                                                                      36
      Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25        Page 87 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.8     West Non-CAISO
In both the current system and No Plant Closures
cases, the West Non-CAISO region maintained
adequacy on average. In the Plant Closures case, the
region’s reliability declined, with annual LOLH
increasing and peak shortfalls in the worst year
affecting up to 20% of hourly load in some subregions.
While overall NUSE normalized unserved energy
remained just above the 0.002% threshold, specific
areas, especially those with limited local resources
and constrained transmission, exceeded acceptable
risk levels. These reliability gaps were primarily driven
by increasing reliance on variable energy resources
without sufficient firm generation.


                        Table 16. Summary of West Non-CAISO Reliability Metrics
                                                                           2030 Projection
 Reliability Metric                          Current           Plant          No Plant       Required
                                             System          Closures         Closures         Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                            -            17.8                 -              -
 Normalized Unserved Energy (%)                        -         0.0032                  -              -
 Unserved Load (MWh)                                   -         21,785                  -              -
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year                 -             47                  -              -
 Normalized Unserved Load (%)                          -         0.0098                  -              -
 Unserved Load (MWh)                                   -         66,248                  -              -
 Max Unserved Load (MW)                                -          5,071                  -              -




                                                                                                        37
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25    Page 88 of 130
Report on Strengthening U.S. Grid Reliability and Security



Load Assumptions

West Non-CAISO’s peak load was roughly 92 GW in the current system model and projected to
increase to roughly 119 GW by 2030. Approximately 12 GW of this relates to new AI/DCs being
installed (24% of U.S. total).




                                                                 Subregion          2024      2030
                                                                 WASHINGTON       20,756     23,187
                                                                 OREGON           11,337     16,080
                                                                 SOUTHWEST        23,388     30,169
                                                                 WASATCH          27,161     35,440
                                                                 FRONT R          20,119     24,996
                                                                 Total            92,448    118,657


               Figure 24. West Non-CAISO Max Daily Load in the Current System versus 2030



Generation Stack

Total installed generating capacity for 2024 was 178 GW. In 2030, 29 GW of new capacity was
added leading to 207 GW of capacity in the No Plant Closures case. In the Plant Closures case,
13 GW of capacity was retired such that net generation change in the Plant Closures case was
16 GW, or 193 GW of overall installed capacity on the system.


                              2030       2030
                  Current
   Subregion                  Plant    No Plant
                  System
                            Closures   Closures
 WASHINGTON        35,207    36,588     37,573
 OREGON            19,068    21,689     22,081
 SOUTHWEST         42,335    47,022     49,158
 WASATCH           42,746    45,175     50,251
 FRONT R           38,572    43,011     47,844
 Total            177,929   193,485    206,908
               Figure 25. West Non-CAISO Generation Capacity by Technology and Scenario

West Non-CAISO’s generation mix was comprised primarily of natural gas, hydro, wind, solar,
and coal. In 2024, natural gas comprised 28% of nameplate, hydro comprised 24%, wind 15%,
solar 13%, and coal 11%. In 2030, most retirements come from coal and natural gas while
additions occur for solar, wind, storage, and natural gas. The model assumed 6 GW of rooftop
solar and over 1 GW of demand response.




                                                                                                 38
    Case 2:25-cv-00054-DLC                  Document 34-2          Filed 07/11/25            Page 89 of 130
Report on Strengthening U.S. Grid Reliability and Security



            Table 17. Nameplate Capacity by West Non-CAISO Subregion and Technology (MW)
                       Coal      Gas      Nuclear   Oil   Other   Storage   Hydro    Solar     Wind      Total
     2024             19,850    49,969     3,820    644   4,114   5,104     42,476   24,652    27,298   177,929
     WASHINGTON        560      3,919      1,096    17    595      489      24,402   1,438     2,690    35,207
            OREGON      0       3,915       0        6    456      482      8,253    2,517     3,440    19,068
      SOUTHWEST       4,842     17,985     2,724    323   1,316   2,349     1,019    8,093     3,685    42,335
        WASATCH       7,033     14,061      0       87    1,433   1,194     7,587    7,299     4,052    42,746
            FRONT R   7,415     10,089      0       211   314      590      1,215    5,306     13,432   38,572
     Additions          0       2,320       0        1     8      2,932       0      14,759    8,959    28,979
     WASHINGTON         0        246        0        0     0       109        0      1,059      952      2,366
            OREGON      0        246        0       0      0       150        0      1,399     1,218     3,013
      SOUTHWEST         0        309        0        0     0      2,338       0      3,578      599      6,823
        WASATCH         0        884        0        0     7       233        0      4,946     1,435     7,505
            FRONT R     0        634        0        0     0       102        0      3,779     4,756     9,271
     Closures         (9,673)   (2,540)     0       (6)   (311)    (170)    (627)      0        (95)    (13,422)
     WASHINGTON       (317)     (195)       0       (0)   (66)     (28)     (369)      0        (11)     (986)
            OREGON      0       (195)       0       (0)   (58)      0       (125)      0        (14)     (392)
      SOUTHWEST       (1,185)   (951)       0        0     0        0         0        0         0      (2,136)
        WASATCH       (3,978)   (699)       0       (2)   (178)    (89)     (115)      0        (16)    (5,077)
            FRONT R   (4,194)   (501)       0       (4)    (8)     (53)      (18)      0        (54)    (4,832)




                                                                                                                   39
      Case 2:25-cv-00054-DLC             Document 34-2       Filed 07/11/25        Page 90 of 130
Report on Strengthening U.S. Grid Reliability and Security



2.9     ERCOT
In the current system model, ERCOT exceeded
reliability thresholds, with 3.8 annual Loss of Load
Hours and a NUSE of 0.0032%, indicating stress
even before future retirements and load growth. In
the No Plant Closures case, conditions worsened
as average LOLH rose to 20 hours per year and
the worst-case year reached 101 hours, driven by
data center growth and limited dispatchable
additions. The Plant Closures case intensified
these risks, with average annual LOLH rising to
45 hours per year and unserved load reaching
0.066%. Peak shortfalls reached 27% of demand,
with outages concentrated in winter when
generation is most vulnerable. To meet reliability
targets, ERCOT would require 10,500 MW of
additional perfect capacity by 2030.
                              Table 18. Summary of ERCOT Reliability Metrics
                                                                           2030 Projection
 Reliability Metric                          Current           Plant          No Plant        Required
                                             System          Closures         Closures          Build
 AVERAGE OVER 12 WEATHER YEARS
 Average Loss of Load Hours                          3.8            45.0               20.3           1.0
 Normalized Unserved Energy (%)                  0.0032          0.0658             0.0284        0.0008
 Unserved Load (MWh)                             15,378         397,352            171,493         4,899
 WORST WEATHER YEAR
 Max Loss of Load Hours in Single Year               30             149                101            12
 Normalized Unserved Load (%)                    0.0286         0.02895            0.01820        0.0098
 Unserved Load (MWh)                            136,309       1,741,003          1,093,560        58,787
 Max Unserved Load (MW)                          10,115          27,156             23,105         8,202

Load Assumptions

ERCOT’s peak load was roughly 90 GW in the current system model and projected to increase
to roughly 105 GW by 2030. Approximately 8 GW of this relates to new data centers being
installed (62% of U.S. total).




                                                                                                         40
    Case 2:25-cv-00054-DLC             Document 34-2         Filed 07/11/25   Page 91 of 130
Report on Strengthening U.S. Grid Reliability and Security




                                                                  Subregion         2024     2030
                                                                  ERCOT         90,075     105,485
                                                                  Total         90,075     105,485




                 Figure 26. ERCOT Max Daily Load in the Current System versus 2030



Generation Stack

Total installed generating capacity for 2024 was 157 GW. In 2030, 55 GW of new capacity was
added leading to 213 GW of capacity in the No Plant Closures case. In the Plant Closures case,
4 GW of capacity was retired such that net generation change in the Plant Closures case was
+51 GW, or 208 GW of overall nameplate capacity on the system.




                         2030        2030
             Current
 Subregion               Plant     No Plant
             System
                       Closures    Closures
 ERCOT       157,490    208,894     212,916
 Total       157,490    208,894     212,916


                  Figure 27. ERCOT Generation Capacity by Technology and Scenario

ERCOT’s generation mix was comprised primarily of natural gas, wind, and solar. In 2024, natural
gas comprised 32% of nameplate, wind comprised 25%, and solar 22%. In 2030, most retirements
come from coal and natural gas while additions occur for solar, storage, and wind. The model
assumed 2.5 GW of rooftop solar and 3.5 GW of demand response.




                                                                                                41
    Case 2:25-cv-00054-DLC               Document 34-2          Filed 07/11/25           Page 92 of 130
Report on Strengthening U.S. Grid Reliability and Security



                  Table 19. Nameplate Capacity for ERCOT and by Technology (MW)
                   Coal      Gas      Nuclear   Oil   Other   Storage   Hydro   Solar     Wind      Total
      2024        13,568    50,889     4,973    10    3,627   10,720    583     33,589    39,532   157,490
          ERCOT   13,568    50,889     4,973    10    3,627   10,720    583     33,589    39,532   157,490
      Additions     0        569        0       0      0      16,538     0      34,681    3,638    55,426
          ERCOT     0        569        0       0      0      16,538     0      34,681    3,638    55,426
      Closures    (2,000)   (2,022)     0       0      0        0        0        0         0      (4,022)
          ERCOT   (2,000)   (2,022)     0       0      0        0        0        0         0      (4,022)




                                                                                                             42
       Case 2:25-cv-00054-DLC            Document 34-2         Filed 07/11/25    Page 93 of 130
  Report on Strengthening U.S. Grid Reliability and Security




  Appendix A - Generation Calibration and Forecast
  The study team started with the grid model from the NERC ITCS, which was published in 2024
  with reference to NERC 2023 LTRA capacity. 27 This zonal ITCS model serves as the starting
  point for the network topology (covering 23 U.S regions), transmission capacity between zones,
  and general modeling assumptions. The resource mix and retirements in the ITCS model were
  updated for this study to reflect the various 2030 scenarios discussed previously. Prior to
  developing the 2030 scenarios, the study team also updated the 2024 ITCS model to ensure
  consistency in the current model assumptions.

  2024 Resource Mix
  Because there were noted changes in assumed capacity additions between the 2023 and 2024
  LTRAs 28, the ITCS model was updated with the 2024 LTRA data, provided directly by NERC to
  the study team. The 2024 LTRA dataset, reported at the NERC assessment area level—which is
  more aggregated in some areas than the ITCS regional structure (covering 13 U.S. regions; see
  Figure A.1)—includes both existing resource capacities 29 and Tier 1, 2, and 3 planned additions
  for each year from 2024 to 2033. As explained below, to incorporate this data into the ITCS model,
  a mapping process was developed to disaggregate generation capacities from the NERC
  assessment areas to the more granular ITCS regions by technology type. To preserve the daily
  or monthly adjustments to generator availability for certain categories (wind, solar, hybrid,
  hydropower, batteries, and other) by using the ITCS methods, the nameplate LTRA capacity was
  used. For all other categories (mostly thermal generators), summer and winter on-peak capacity
  contributions were used.




  27. NERC, “Interregional Transfer Capability Study (ITCS).”
  https://www.nerc.com/pa/RAPA/Documents/ITCS_Final_Report.pdf.
  28. NERC, “2024 Long-Term Reliability Assessment,” December, 2024, 24.
  https://www.nerc.com/pa/RAPA/ra/Reliability%20Assessments%20DL/NERC_Long%20Term%20Reliabili
  ty%20Assessment_2024.pdf.
  29. Capacities are reported for both winter and summer seasonal ratings, along with nameplate values.




U.S. Department of Energy                                                                          A-1
       Case 2:25-cv-00054-DLC                  Document 34-2                       Filed 07/11/25    Page 94 of 130
  Report on Strengthening U.S. Grid Reliability and Security




                                     Figure A.1. NERC assessment areas.

  To disaggregate generation capacity from the NERC assessment areas to the ITCS regions, EIA
  860 plant-level data were used to tabulate the generation capacity for each ITCS region and
  NERC assessment area. The geographical boundaries for the NERC assessment areas and the
  ITCS regions were constructed based on ReEDS zones. 30 Disaggregation fractions were then
  calculated by technology type using the combined existing capacity and planned additions
  through 2030 from EIA 860 data as of December 2024. Specifically, to compute each fraction, an
  ITCS region’s total (existing plus planned) capacity was divided by the corresponding total
  capacity across all ITCS regions within the same mapped NERC assessment area and fuel type
  group:


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                                                         ∑𝑟𝑟′∈𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼(𝑅𝑅) 𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝑦𝑦𝑟𝑟 ′ 𝑓𝑓           (Equation.1)



  Where 𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝑦𝑦𝑟𝑟𝑟𝑟 is the capacity of fuel type 𝑓𝑓 in ITCS region 𝑟𝑟 and 𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼(𝑅𝑅) is the set of all ITCS
  regions mapped to the same NERC assessment area 𝑅𝑅. The denominator is the total capacity of
  that fuel type across all ITCS regions mapped to 𝑅𝑅.

  Note that in cases where NERC assessment areas align one-to-one with ITCS regions, no
  mapping was required. Table A.1 summarizes which areas exhibited a direct one-to-one matching
  and which required disaggregation (1-to-many) or aggregation (many-to-one) to align with the
  ITCS regional structure.

  An exception to this general approach is the case of the Front Range ITCS region, which
  geographically spans across two NERC assessment areas—WECC-NW and WECC-SW—
  resulting in two-to-one mapping. For this case, a separate allocation method was used: Plant-
  level data from EIA 860 were analyzed to determine the proportion of Front Range capacity
  located in each NERC area. These proportions were then used to derive custom weighting factors
  for allocating capacities from both WECC-NW and WECC-SW into the Front Range region.


  30. NREL, “Regional Energy Development System,” https://www.nrel.gov/analysis/reeds/.




U.S. Department of Energy                                                                                             A-2
       Case 2:25-cv-00054-DLC            Document 34-2         Filed 07/11/25       Page 95 of 130
  Report on Strengthening U.S. Grid Reliability and Security



                    Table A.1. Mapping of NERC assessment areas to ITCS regions.
                      NERC Area             ITCS Region            Match
                      ERCOT                 ERCOT                          1 to 1
                      NPCC-New England      NPCC-New England               1 to 1
                      NPCC-New York         NPCC-New York                  1 to 1
                      SERC-C                SERC-C                         1 to 1
                      SERC-E                SERC-E                         1 to 1
                      SERC-FP               SERC-FP                        1 to 1
                      SERC-SE               SERC-SE                        1 to 1
                      WECC-SW               Southwest Region               1 to 1
                      MISO                  MISO Central
                      MISO                  MISO East
                                                                           1 to 4
                      MISO                  MISO South
                      MISO                  MISO West
                      SPP                   SPP North
                                                                           1 to 2
                      SPP                   SPP South
                      WECC-CAMX             Southern California
                                                                           1 to 2
                      WECC-CAMX             Northern California
                      WECC-NW               Oregon Region
                      WECC-NW               Washington Region              1 to 3
                      WECC-NW               Wasatch Front
                      WECC-NW               Front Range
                                                                           2 to 1
                      WECC-SW               Front Range




  Table A.2 and Figure A.2 show the same combined capacities by ITCS region and NERC planning
  region, respectively.




U.S. Department of Energy                                                                            A-3
            Case 2:25-cv-00054-DLC                                           Document 34-2                                Filed 07/11/25                         Page 96 of 130
  Report on Strengthening U.S. Grid Reliability and Security



               Table A.2. Existing and Tier 1 capacities by NERC assessment area (in MW) in 2024.
           2024 Exsting + Tier 1                                                                                       Pumped
                                             Coal       NG      Nuclear    Oil        Biomass   Geo        Other       Storage      Battery   Hydro     Solar     Wind      DR      DGPV         Total
   EAST      Total                          143,035   330,342    82,793   26,771        3,624     -          991        19,607        3,298   28,980    72,757    94,364   25,753   24,367      856,682
             ISONE     Total                   541     15,494     3,331    5,710         818      -          233         1,571           57    1,911     3,386     2,553     661     3,713       39,979
             MISO      Total                 37,914    64,194    11,127    2,867         613      -          329         4,396        1,031    2,533    29,777    41,715    7,775    3,049      207,319
                               MISO-W        12,651    13,608     2,753    1,491         244      -                2       -           200      777      7,368    29,411    2,367     741        71,612
                                MISO-C       15,050    10,307     2,169     494           32      -          152          773          499      769     10,587     7,350    2,026    1,774       51,982
                                MISO-S        5,493    31,052     5,100     589          243      -          117               49         5     845      8,024      596     2,109     291        54,511
                                MISO-E        4,720     9,227     1,105     292           94      -               57     3,574         327      143      3,799     4,359    1,273     243        29,213
             NYISO     Total                    -      22,937     3,330    2,631         334      -           -          1,400           60    4,915     1,039     2,706     860     5,710       45,924
             PJM       Total                 39,915    84,381    32,535    9,875         851      -           -          5,062         338     3,071    10,892    11,718    7,397    8,603      214,638
                                PJM-W        34,917    39,056    16,557    1,933         112      -           -           234          149     1,252     5,780    10,065    3,814     599       114,467
                                   PJM-S      2,391    15,038     5,288    3,985         479      -           -          2,958         127     1,070     3,932      360     1,824    2,498       39,951
                                   PJM-E      2,608    30,287    10,690    3,956         260      -           -          1,870           62     749      1,180     1,294    1,759    5,506       60,221
             SERC      Total                 45,747   113,334    31,702    4,063         989      -               83     6,701         768    11,425    26,959      982     7,707    3,221      253,680
                                   SERC-C    13,348    20,127     8,280     148           36      -           -          1,784         100     4,995     2,308      982     1,851      20        53,978
                                SERC-SE      13,275    29,866     8,018     915          424      -           -          1,548         115     3,260     7,267       -      2,069     317        67,073
                                SERC-FL       4,346    47,002     3,502    1,957         310      -               83       -           538       -      10,121       -      2,804    2,051       72,714
                                   SERC-E    14,777    16,340   11,902     1,044         219      -           -          3,369           15    3,170     7,263       -       983      833        59,914
             SPP       Total                 18,919    30,003      769     1,626          20      -          345          477         1,044    5,123      703     34,689    1,353      71        95,142
                                   SPP-N      5,089     3,467      304      504             1     -          185           -              8    3,041        84     7,041     333           7     20,065
                                    SPP-S    13,829    26,536      465     1,121          19      -          160          477         1,037    2,082      619     27,649    1,020      64        75,078
   ERCOT     Total                           13,568    50,889     4,973          10      163      -           -            -         10,720     583     31,058    39,532    3,464    2,531      157,490
             ERCOT     Total                 13,568    50,889     4,973          10      163      -           -            -         10,720     583     31,058    39,532    3,464    2,531      157,490
   WEST      Total                           21,666    87,403     9,403     829         1,565   4,093        106         4,536       15,238   52,687    44,042    35,071    1,944   16,271      294,854
             CAISO+    Total                  1,816    37,434     5,582     185          726    2,004             35     3,514       11,156   10,211    25,614     7,773     829    10,047      116,925
                                   CALI-N       -      12,942     5,582     165          465    1,049              9     1,967        2,672    8,727     6,723     1,373     349     5,036       47,059
                                   CALI-S     1,816    24,492       -            20      261     955              26     1,547        8,484    1,483    18,891     6,400     480     5,011       69,866
             Non-CA    Total                 19,850    49,969     3,820     644          839    2,089             71     1,022        4,082   42,476    18,428    27,298    1,115    6,224      177,929
             WECC                    WA        560      3,919     1,096          17      352      -           -           140          350    24,402     1,052     2,690     243      386        35,207
                                      OR        -       3,915       -             6      293          21      -            -           482     8,253     2,145     3,440     141      372        19,068
                          SOUTHWEST           4,842    17,985     2,724     323          102    1,047         -           176         2,173    1,019     5,641     3,685     168     2,452       42,335
                               WASATCH        7,033    14,061       -            87       56    1,011             61      444          750     7,587     5,625     4,052     305     1,674       42,746
                               FRONT R        7,415    10,089       -       211           36          10      10          262          328     1,215     3,966    13,432     258     1,340       38,572
                       Total                178,268   468,635   97,169    27,610        5,353   4,093       1,096       24,144      29,256    82,249   147,856   168,966   31,161   43,169     1,309,026




U.S. Department of Energy                                                                                                                                                                          A-4
       Case 2:25-cv-00054-DLC            Document 34-2         Filed 07/11/25   Page 97 of 130
  Report on Strengthening U.S. Grid Reliability and Security




             Figure A.2. Existing and Tier 1 capacities by NERC assessment area in 2024.



  Forecasting 2030 Resource Mixes
  To develop the 2030 ITCS generation portfolio, the study team added new capacity builds and
  removed planned retirements.
         (i) Tier 1: Assumes that only projects considered very mature in the development
             pipeline—such as those with signed interconnection agreements—will be built. This
             results in minimal capacity additions beyond 2026. The data are based on projects
             designated as Tier 1 in the 2024 LTRA data for the year 2030.


  Retirements
  To project which units will retire by 2030, the study team primarily used the LTRA 2024 data and
  cross-checked it with EIA data. The assessment areas were disaggregated to ITCS zones based
  on the ratios of projected retirements in EIA 860 data. The three scenarios modeled are as follows:
         (i) Announced: Assumes that in addition to confirmed retirements, generators that have
             publicly announced retirement plans but have not formally notified system operators
             have also begun the retirement process. This is based on data from the 2024 LTRA,
             which were collected by the NERC team from sources like news announcements,
             public disclosures, etc.




U.S. Department of Energy                                                                        A-5
       Case 2:25-cv-00054-DLC            Document 34-2         Filed 07/11/25   Page 98 of 130
  Report on Strengthening U.S. Grid Reliability and Security



         (ii) None: Assumes that there are no retirements between 2024 and 2030 for comparison.
              Delaying or canceling some near-term retirements may not be feasible, but this case
              can help determine how much retirements contribute to resource adequacy challenges
              in regions where rapid AI and data center growth is expected.



  Generation Stack for Each Scenario
  Finally, when summing all potential future changes, the team arrived at a generation stack for
  each of the various scenarios to be studied. The first figure provides a visual comparison of all
  the cases, which vary from 1,309 GW to 1,519 GW total generation capacity for the entire
  continental United States, to enable the exploration of a range of potential generation futures. The
  tables below provide breakdowns by ITCS region and by resource type.




              Figure A.9. Comparison of 2030 generation stacks for the various scenarios.




U.S. Department of Energy                                                                         A-6
           Case 2:25-cv-00054-DLC                                          Document 34-2                                Filed 07/11/25                         Page 99 of 130
  Report on Strengthening U.S. Grid Reliability and Security



                    Table A.4. 2030 generation stack for Tier 1 mature + announced retirements.
   2030 Tier 1 Mature + Announced                                                                                    Pumped
                                        Coal          NG      Nuclear    Oil        Biomass   Geo        Other       Storage      Battery   Hydro     Solar     Wind      DR      DGPV         Total
   EAST    Total                        84,730      328,457    82,793   24,272        3,473     -          991        19,591       12,415   28,897   126,849   113,568   26,837   36,768      889,641
           ISONE    Total                       7    13,708     3,331    5,687         741      -          233         1,571        1,664    1,911     3,676     4,048     661     5,606       42,845
           MISO     Total               13,001       60,132    11,127    2,873         473      -          329         4,380        2,960    2,450    44,132    43,369    7,775    3,049      196,049
                            MISO-W       4,338       12,747     2,753    1,494         188      -                2       -           574      751     10,920    30,577    2,367     741        67,453
                             MISO-C      5,161        9,655     2,169     495           25      -          152          770         1,433     743     15,690     7,642    2,026    1,774       47,735
                             MISO-S      1,883       29,087     5,100     591          187      -          117               49        14     817     11,892      619     2,109     291        52,756
                             MISO-E      1,619        8,643     1,105     293           72      -               57     3,561         938      138      5,630     4,531    1,273     243        28,105
           NYISO    Total                  -         21,907     3,330    2,628         334      -           -          1,400           60    4,915     1,159     4,608     860     9,194       50,396
           PJM      Total               26,662       87,228   32,535     8,117         917      -           -          5,062        2,276    3,071    33,530    18,807    7,638   10,955      236,798
                             PJM-W      23,323       40,373    16,557    1,589         120      -           -           234         1,004    1,252    17,793    16,153    3,939     762       123,100
                              PJM-S      1,597       15,546     5,288    3,276         516      -           -          2,958         853     1,070    12,105      577     1,883    3,181       48,850
                              PJM-E      1,742       31,309    10,690    3,252         280      -           -          1,870         419      749      3,632     2,076    1,816    7,012       64,848
           SERC     Total               31,672      116,117    31,702    3,391         989      -               83     6,701        3,021   11,425    38,360      982     8,088    7,893      260,423
                              SERC-C     8,883       23,777     8,280     148           36      -           -          1,784         180     4,995     3,070      982     1,851      29        54,014
                             SERC-SE    10,321       28,127     8,018     899          424      -           -          1,548         618     3,260     9,024       -      2,213     317        64,768
                             SERC-FL     2,851       47,092     3,502    1,477         310      -               83       -          2,208      -      16,717       -      3,022    5,865       83,127
                              SERC-E     9,617       17,122   11,902      868          219      -           -          3,369           15    3,170     9,549       -      1,002    1,682       58,513
           SPP      Total               13,389       29,365      769     1,576          20      -          345          477         2,434    5,123     5,991    41,755    1,815      71       103,130
                              SPP-N      3,602        3,394      304      489             1     -          185           -             18    3,041       717     8,475     447           7     20,679
                               SPP-S     9,787       25,971      465     1,087          19      -          160          477         2,416    2,082     5,274    33,280    1,368      64        82,451
   ERCOT   Total                        11,568       49,436     4,973          10      163      -           -            -         27,258     583     62,406    43,169    3,464    5,864      208,894
           ERCOT    Total               11,568       49,436     4,973          10      163      -           -            -         27,258     583     62,406    43,169    3,464    5,864      208,894
   WEST    Total                        10,193       85,538     7,103     823         1,427   3,983        106         4,366       21,330   52,060    51,648    43,935    1,981   31,931      316,424
           CAISO+   Total                      16    35,789     3,282     185          726    2,059             35     3,514       14,316   10,211    27,112     7,773     866    17,055      122,938
                              CALI-N       -         12,373     3,282     165          465    1,078              9     1,967        3,429    8,727     7,116     1,373     364     8,549       48,897
                              CALI-S           16    23,416       -            20      261     982              26     1,547       10,887    1,483    19,996     6,400     501     8,506       74,041
           Non-CA   Total               10,177       49,749     3,820     639          701    1,924             71      852         7,014   41,849    24,536    36,162    1,115   14,876      193,485
           WECC                 WA        243         3,971     1,096          16      286      -           -           111          459    24,033     1,404     3,631     243     1,092       36,588
                                 OR        -          3,967       -             6      238          18      -            -           632     8,128     2,865     4,644     141     1,051       21,689
                      SOUTHWEST          3,657       17,343     2,724     323          102    1,047         -           176         4,511    1,019     7,460     4,284     168     4,211       47,022
                            WASATCH      3,055       14,247       -            86       45     850              61      355          983     7,472     7,512     5,470     305     4,733       45,175
                            FRONT R      3,221       10,222       -       208           30           8          10      209          430     1,197     5,296    18,133     258     3,789       43,011
                    Total              106,491      463,431    94,869   25,106        5,063   3,983       1,096       23,958       61,003   81,539   240,902   200,673   32,282   74,563     1,414,959




U.S. Department of Energy                                                                                                                                                                        A-7
            Case 2:25-cv-00054-DLC                                        Document 34-2                                Filed 07/11/25                          Page 100 of 130
  Report on Strengthening U.S. Grid Reliability and Security



                                  Table A.5. 2030 generation stack for Tier 1 mature + no retirements.
          2030 Tier 1 Mature + No                                                                                    Pumped
               Retirements                 Coal       NG      Nuclear    Oil        Biomass   Geo        Other       Storage      Battery   Hydro     Solar     Wind      DR      DGPV         Total
   EAST      Total                        143,035   345,459    82,793   27,336        3,701     -          991        19,607       12,415   28,980   126,849   113,840   26,837   36,768      968,610
             ISONE     Total                 541     15,584     3,331    5,891         818      -          233         1,571        1,664    1,911     3,676     4,048     661     5,606       45,534
             MISO      Total               37,914    66,729    11,127    3,197         613      -          329         4,396        2,960    2,533    44,132    43,641    7,775    3,049      228,393
                               MISO-W      12,651    14,145     2,753    1,662         244      -                2       -           574      777     10,920    30,768    2,367     741        77,605
                                MISO-C     15,050    10,714     2,169     551           32      -          152          773         1,433     769     15,690     7,690    2,026    1,774       58,823
                                MISO-S      5,493    32,278     5,100     657          243      -          117               49        14     845     11,892      623     2,109     291        59,710
                                MISO-E      4,720     9,592     1,105     326           94      -               57     3,574         938      143      5,630     4,560    1,273     243        32,255
             NYISO     Total                  -      22,937     3,330    2,646         334      -           -          1,400           60    4,915     1,159     4,608     860     9,194       51,444
             PJM       Total               39,915    88,880    32,535    9,907         928      -           -          5,062        2,276    3,071    33,530    18,807    7,638   10,955      253,504
                                PJM-W      34,917    41,138    16,557    1,939         122      -           -           234         1,004    1,252    17,793    16,153    3,939     762       135,810
                                 PJM-S      2,391    15,840     5,288    3,998         522      -           -          2,958         853     1,070    12,105      577     1,883    3,181       50,667
                                 PJM-E      2,608    31,902    10,690    3,969         284      -           -          1,870         419      749      3,632     2,076    1,816    7,012       67,027
             SERC      Total               45,747   120,232    31,702    4,063         989      -               83     6,701        3,021   11,425    38,360      982     8,088    7,893      279,285
                                 SERC-C    13,348    24,958     8,280     148           36      -           -          1,784         180     4,995     3,070      982     1,851      29        59,660
                                SERC-SE    13,275    29,866     8,018     915          424      -           -          1,548         618     3,260     9,024       -      2,213     317        69,478
                                SERC-FL     4,346    48,163     3,502    1,957         310      -               83       -          2,208      -      16,717       -      3,022    5,865       86,173
                                 SERC-E    14,777    17,246   11,902     1,044         219      -           -          3,369           15    3,170     9,549       -      1,002    1,682       63,973
             SPP       Total               18,919    31,098      769     1,632          20      -          345          477         2,434    5,123     5,991    41,755    1,815      71       110,449
                                 SPP-N      5,089     3,594      304      506             1     -          185           -             18    3,041      717      8,475     447           7     22,385
                                  SPP-S    13,829    27,504      465     1,126          19      -          160          477         2,416    2,082     5,274    33,280    1,368      64        88,064
   ERCOT     Total                         13,568    51,458     4,973          10      163      -           -            -         27,258     583     62,406    43,169    3,464    5,864      212,916
             ERCOT     Total               13,568    51,458     4,973          10      163      -           -            -         27,258     583     62,406    43,169    3,464    5,864      212,916
   WEST      Total                         21,666    91,849     9,403     829         1,565   4,156        106         4,536       21,330   52,687    51,648    44,030    1,981   31,931      337,717
             CAISO+    Total                1,816    39,560     5,582     185          726    2,059             35     3,514       14,316   10,211    27,112     7,773     866    17,055      130,809
                                 CALI-N       -      13,677     5,582     165          465    1,078              9     1,967        3,429    8,727     7,116     1,373     364     8,549       52,501
                                 CALI-S     1,816    25,883       -            20      261     982              26     1,547       10,887    1,483    19,996     6,400     501     8,506       78,308
             Non-CA    Total               19,850    52,289     3,820     645          839    2,097             71     1,022        7,014   42,476    24,536    36,257    1,115   14,876      206,908
             WECC                   WA       560      4,166     1,096          17      352      -           -           140          459    24,402     1,404     3,642     243     1,092       37,573
                                    OR        -       4,161       -             6      293          22      -            -           632     8,253     2,865     4,658     141     1,051       22,081
                          SOUTHWEST         4,842    18,294     2,724     323          102    1,047         -           176         4,511    1,019     7,460     4,284     168     4,211       49,158
                               WASATCH      7,033    14,945       -            88       56    1,018         61          444          983     7,587     7,512     5,486     305     4,733       50,251
                               FRONT R      7,415    10,723       -       212           36          10      10          262          430     1,215     5,296    18,187     258     3,789       47,844
                       Total              178,268   488,766   97,169    28,175        5,429   4,156       1,096       24,144      61,003    82,249   240,902   201,040   32,282   74,563     1,519,243




U.S. Department of Energy                                                                                                                                                                        A-8
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 101 of 130
  Report on Strengthening U.S. Grid Reliability and Security




  Appendix B - Representing Canadian Transfer Limits
  Introduction
  The reliability and stability of cross-border electricity interconnections between the United States
  and Canada are critical to ensuring continuous power delivery amid evolving demands and
  variable supply conditions. In recent years, increased integration of wind and solar generation,
  coupled with extreme weather events, has introduced significant uncertainties in regional power
  flows.

  This report describes the development and implementation of a machine learning (ML)-based
  model designed to project the maximum daily energy transfer (MaxFlow) across major United
  States–Canada interfaces, such as BPA–BC Hydro and NYISO–Ontario. Leveraging 15 years of
  high-resolution load and generation data, summarizing it into key daily statistics, and training a
  robust eXtreme Gradient Boosting (XGBoost) regressor can allow data-driven predictions to be
  captured with quantified uncertainty.

  The project team provided percentile-based forecasts—25, 50, and 75 percent—to support both
  conservative and strategic planning. The conservative methodology (25 percent) was used for
  this report to ensure availability when needed.

  The subsequent sections detail the methodology used for data processing and feature
  engineering, the architecture and training of the predictive model, and the validation metrics and
  feature importance analyses used. Future enhancements could include incorporating weather
  patterns, neighboring-region dynamics, and fuel-specific generation profiles to further strengthen
  predictive performance and support grid resilience.

  Methodology
  This section describes the ML approach used to build the MaxFlow prediction model.
  Dataset Collection and Preparation

  Data were collected for hourly and derived daily load and generation over a 15-year period (2010–
  2024), comprising 8,760 hourly observations annually. Hourly interconnection flow rates were
  collected for the same years across all major United States–Canada interfaces.1–17
  Underlying Hypothesis

  The team hypothesized that the MaxFlow between interconnected regions is critically influenced
  by regional load and generation extrema (maximum and minimum) and their variability. These
  statistics reflect grid stress conditions, influencing interregional energy flow. Additionally,
  nonlinear interactions due to imbalances in adjacent regions further affect energy transfer
  dynamics.

  Regression Model
  The XGBoost regression model was chosen because of its ability to capture complex, nonlinear
  relationships, regularization capability to prevent overfitting, high speed and performance, fast
  convergence, built-in handling of missing data, and ease of confidence interval approximation.




U.S. Department of Energy                                                                         B-1
       Case 2:25-cv-00054-DLC                    Document 34-2                   Filed 07/11/25              Page 102 of 130
  Report on Strengthening U.S. Grid Reliability and Security



  XGBoost builds many small decision trees, one after another. Each new tree learns to correct the
  mistakes of the previous ensemble by focusing on which predictions had the greatest error.
  Instead of creating one large, complex tree, it combines many simpler trees—each making a
  modest adjustment—so that, together, they capture nonlinear patterns and interactions.
  Regularization (penalties for tree size and leaf adjustments) prevents overfitting, and a “learning
  rate” scales each tree’s contribution so that improvements are made gradually. The final
  prediction is simply the sum of all those small corrections.
  Model Training, Validation, and Assessment

  Figure B.1 shows the data analysis and prediction process, which ties together seven stages—
  from raw CSV loading through outlier filtering, feature engineering, projecting to 2030, rebuilding
  2030 features, training an XGBoost model, and finally making and evaluating the 2030 flow
  forecasts with quantiles. Each stage feeds into the next, ensuring that the features used for
  training mirror exactly those that will be available for future (2030) predictions.

                                      Data Preparation
                                                                                 Outlier Removal
                                Load Historical CSV File
                                                                                 Calculate IQR
                                          Parse Dates
                                                                                 Remove Days Outside IQR

                         Feature Engineering
                                                                                          2030 Feature Rebuild

                        Add Cyclical Features
                                                                                          Construct Date
                     One-Hot Encode Months
                                                                                          Add Cyclical Features
                     Flag US Federal Holidays
                                                                                          Flag Holidays
              Compute Rolling Means and Lags
                                                                                          Compute Rolling Means and Lags
                                                                  Data
                                                              Analysis and
                      Prediction & Evaluation                  Prediction
                                                                Process                   Model Training
                  Predict 2030 MinFlow and
                                  MaxFlow                                                 Combine Historical and 2030 Data
                                                                                          Define Training Inputs
                Generate Per-Tree Predictions
                                                                                          Tune Hyperparameters
                 Hold-Out Data for Validation
                                                                                          Train Best Model
                         Save Hourly Output


                                                           2030 Raw Projection

                                                           Fit Linear Trend
                                                           Predict Raw Values


                                Figure B.1. Data analysis and prediction process.



  Example Feature Importance for Predicting MaxFlow from Ontario to NYISO

  The trained ML/XGBoost model can be used for predicting the desired year’s MaxFlow. In
  addition, feature importance analysis can be added to assess the contribution of each variable.




U.S. Department of Energy                                                                                                      B-2
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 103 of 130
  Report on Strengthening U.S. Grid Reliability and Security




    Figure B.2. Feature importance for predicting the hourly maximum energy transfer (MaxFlow)
                       between NYISO and Ontario. XGB = eXtreme Gradient Boosting.

  The feature importance plot shows that MaxFlow rolling/lagging features and
  Ontario_All.MaxTran are the dominant predictors of MaxFlow, meaning temporal patterns and
  Ontario’s peak transfer capacity strongly influence interregional flow limits. Weather-related
  variables (WWI, e.g., temperature, humidity, etc.) and Ontario_All.TotalTran also rank highly. The
  2030 MaxFlow prediction plot shows seasonal fluctuations, with higher values early and late in
  the year. The red shaded area represents a 95 percent confidence interval for the predictions.




        Figure B.3. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                                           confidence interval (CI).




U.S. Department of Energy                                                                         B-3
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25        Page 104 of 130
  Report on Strengthening U.S. Grid Reliability and Security



  Model Performance

  Validating model performance on unseen data is essential to ensure the model’s reliability and
  generalizability. The following evaluation examines how well the XGBoost model predicts
  minimum energy transfer (MinFlow) and MaxFlow on the validation split, highlighting strengths
  and areas for improvement.

  Rigorous performance evaluation is a fundamental step in any ML workflow. From quantifying
  error metrics (root mean square error and mean absolute error) and goodness-of-fit (R²) on both
  training and validation splits, it is possible to identify overfitting, assess generalization, and guide
  model refinement. Table B.1 shows XGBoost model performance for the Ontario–NYISO transfer
  limit.


   Table B.1. eXtreme Gradient Boosting model performance for the Ontario–NYISO transfer limit.
           Metric             Value                               Explanation
   MinFlow RMSE (Train)       69.2528 Root mean square error (RMSE) on training data for minimum
                                      energy transfer (MinFlow)
   MinFlow R2 (Train)          0.9651 R² on training data for MinFlow (higher  better fit)
   MinFlow RMSE              163.6642 RMSE on held-out data for MinFlow
   (Validation)
   MinFlow R2 (Validation)     0.8073 R² on held-out data for MinFlow (higher  better generalization)
   MaxFlow RMSE (Train)      114.4234 RMSE on training data for maximum energy transfer (MaxFlow)
   MaxFlow R2 (Train)          0.8838 R² on training data for MaxFlow (higher  better fit)
   MaxFlow RMSE              144.9614 RMSE on held-out data for MaxFlow
   (Validation)
   MaxFlow R2 (Validation)      0.8178 R² on held-out data for MaxFlow (higher  better generalization)

  Overall, the XGBoost model delivers excellent in-sample as well as out-of-sample accuracy.
  Similar outputs are available for each transfer limit.
  Maximum flow predictions: Ontario to New York

  Ontario and NYISO are connected through multiple high-voltage interconnections, which
  collectively provide a total transfer capability of up to 2,500 MW, subject to individual tie-line limits.
  Table B.2 outlines the data sources, preparation process, and assumptions used in creating
  datasets for the prediction models.


          Table B.2. Ontario to New York transmission flow data and assumptions overview.
                                                                 Description
   Data source                 https://www.ieso.ca/power-data/data-directory
   Data preparation            IESO public hourly inter-tie schedule flow data can be accessed for the
                               years spanning from 2002 to 2023.
   Assumptions                 Positive flow indicates that Ontario is exporting to NY, and negative flow
                               indicates that Ontario is importing from NY.

  Figure B.4 illustrates the historical monthly MaxFlow for Ontario from 2007 through 2024,
  alongside 2030 projected quartile scenarios (Q1, Q2, and Q3). Analyzing these trends helps
  assess future reliability and facilitates capacity planning under varying conditions.




U.S. Department of Energy                                                                                   B-4
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 105 of 130
  Report on Strengthening U.S. Grid Reliability and Security



  Historical monthly peaks (2007–2023) reveal a clear seasonal cycle for ONT–NYISO transfers:
  flows typically increase in late winter/early spring (February–April) and again in late fall/early
  winter (November–December). Over 16 years, the average spring peaks hovered around 1,700–
  1,900 MW, with occasional spikes above 2,200 MW. The 2030 forecast for Q1, Q2, and Q3 aligns
  with this pattern, predicting a springtime peak near 1,800 MW, a summer trough around 1,400
  MW, and a modest late-summer uptick near 1,500 MW.




   Figure B.4. Monthly maximum energy transfer between Ontario (ONT) and New York (NYISO).

   The team used robust validation metrics to justify these results. When trained on daily data from
   the 2010–2024 period—incorporating projected 2030 loads, seasonal flags, and holiday effects—
   the XGBoost model achieved R² > 0.80 and a root mean square error below 150 MW on an
   unseen 20 percent hold-out dataset. Moreover, the 95 percent confidence intervals for monthly
   maxima were narrow (approximately ±150 MW), demonstrating low predictive uncertainty. A
   comparison of predicted maxima with historical extremes revealed that 2030 forecasts
   consistently fell within (or slightly above) the previous window of variability, implying realistic
   demand-driven behavior. In summary, the close alignment with historical peaks, strong cross-
   validated performance, and tight confidence bands collectively validate the results.

  Discussion
  The reason that the team used ML/XGBoost to approximate the 2030 transfer profiles was to
  ensure that there would be no violations or inconsistencies between transfer limits, load, and
  generation. The 15 years of data used were sufficient for having the models learn historical
  relationships and project them forward to 2030 to capture the underlying trends in load,




U.S. Department of Energy                                                                         B-5
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 106 of 130
  Report on Strengthening U.S. Grid Reliability and Security



  generation, and their interactions. The use of such an extensive dataset justifies using ML to
  establish consistent transfer profiles.

  However, in some regions, like Ontario to NYISO, the available data encompassed a shorter time
  period, and the relationships were only partially captured because of a lack of neighboring-region
  data. In such cases, it was necessary to incorporate additional predictors, such as rolling and lag
  features from the transfer limits. Although the direct use of transfer limit data to project future
  transfer limits would typically be avoided, these engineered features help improve predictions
  when data coverage is sparse and the model’s goodness-of-fit is low.

  In all cases, the ML models ensured that these historical relationships were not violated,
  maintaining internal consistency among load, generation, and transfer limits. Overall, the team
  relied on ML when long-term data were available for training and projecting load and generation
  profiles. Rolling and lag features were used to reinforce the model when data availability was
  limited, but always with the goal of upholding consistent physical relationships in the 2030
  projections.
  Supplementary Plots for Additional Transfers

  This section presents figures and tables showing results and source data information for each
  transfer listed below:
     (iii) Pacific Northwest to British Columbia
     (iv) Alberta to Montana
     (v)   Manitoba to MISO West
     (vi) Ontario to MISO West
     (vii) Ontario to MISO East
     (viii) Ontario to New York
     (ix) Hydro-Quebec to New York
     (x)   Hydro-Quebec to New England
     (xi) New Brunswick to New England

  The figures show the daily MaxFlow for each transfer that was considered in this analysis.




U.S. Department of Energy                                                                         B-6
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 107 of 130
  Report on Strengthening U.S. Grid Reliability and Security




        Figure B.5. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                 confidence interval (CI) between British Columbia and the Pacific Northwest.




        Figure B.6. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                             confidence interval (CI) between AESO and Montana.




U.S. Department of Energy                                                                         B-7
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 108 of 130
  Report on Strengthening U.S. Grid Reliability and Security




     Figure B.7. Projected 2030 maximum energy transfer (MaxFlow) with 95 percent confidence
                                 interval (CI) between Manitoba and MISO.




        Figure B.8. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                           confidence interval (CI) between Ontario and MISO West.




U.S. Department of Energy                                                                         B-8
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 109 of 130
  Report on Strengthening U.S. Grid Reliability and Security




        Figure B.9. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                           confidence interval (CI) between Ontario and MISO East.




        Figure B.10. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                            confidence interval (CI) between Ontario and New York.




U.S. Department of Energy                                                                         B-9
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 110 of 130
  Report on Strengthening U.S. Grid Reliability and Security




        Figure B.11. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                            confidence interval (CI) between Quebec and New York.




        Figure B.12. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                          confidence interval (CI) between Quebec and New England.




U.S. Department of Energy                                                                     B-10
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 111 of 130
  Report on Strengthening U.S. Grid Reliability and Security




        Figure B.13. Projected 2030 daily maximum energy transfer (MaxFlow) with 95 percent
                      confidence interval (CI) between New Brunswick and New England.




U.S. Department of Energy                                                                     B-11
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 112 of 130
  Report on Strengthening U.S. Grid Reliability and Security




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U.S. Department of Energy                                                                         C-1
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 113 of 130
  Report on Strengthening U.S. Grid Reliability and Security



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U.S. Department of Energy                                                                         C-2
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 114 of 130
  Report on Strengthening U.S. Grid Reliability and Security



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U.S. Department of Energy                                                                         C-3
       Case 2:25-cv-00054-DLC           Document 34-2          Filed 07/11/25   Page 115 of 130
  Report on Strengthening U.S. Grid Reliability and Security




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  https://www.federalregister.gov/documents/2025/04/14/2025-06381/strengthening-the-reliability-
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U.S. Department of Energy                                                                         C-4
Case 2:25-cv-00054-DLC     Document 34-2              Filed 07/11/25   Page 116 of 130




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Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 117 of 130




                         EXHIBIT E
7/11/25, 6:23 PM                                                                Trends in CO2 - NOAA Global Monitoring Laboratory
                                           Case 2:25-cv-00054-DLC            Document 34-2           Filed 07/11/25           Page 118 of 130
               An official website of the United States government Here's how you know


                   Global Monitoring Laboratory

    Trends in CO2, CH4, N2O, SF6

                                         Trends in CO2                                                                              Trends in CH4



                                         Trends in N2O                                                                              Trends in SF6



    Trends in Atmospheric Carbon Dioxide (CO2)

       Mauna Loa, Hawaii              Global      CO2 Animation          CO2 Emissions



          Last Month

          Last 1 Year

          Full Record

          Growth Rate

          Data

          Interactive Plots



        Monthly Average Mauna Loa CO2

                                                                        May 2025:            430.51 ppm
                                                                        May 2024:            426.90 ppm
                                                                                          Last updated: Jun 05, 2025




            PNG Version             PDF Version




https://gml.noaa.gov/ccgg/trends/                                                                                                                   1/3
7/11/25, 6:23 PM                                                      Trends in CO2 - NOAA Global Monitoring Laboratory
                                           Case 2:25-cv-00054-DLC   Document 34-2          Filed 07/11/25           Page 119 of 130




            PNG Version             PDF Version


        The graphs show monthly mean carbon dioxide measured at Mauna Loa Observatory, Hawaii. The carbon dioxide data on Mauna Loa
        constitute the longest record of direct measurements of CO2 in the atmosphere. They were started by C. David Keeling of the Scripps
        Institution of Oceanography in March of 1958 at a facility of the National Oceanic and Atmospheric Administration [Keeling, 1976]. NOAA
        started its own CO2 measurements in May of 1974, and they have run in parallel with those made by Scripps since then [Thoning, 1989].

        The last five complete years of the Mauna Loa CO2 record plus the current year are shown in the first graph. The full record of combined
        Scripps data and NOAA data is shown in the second graph. Every monthly mean is the average of daily means, which are in turn based on
        hourly averages, but only for those hours during which “background” conditions prevail (see
        gml.noaa.gov/ccgg/about/co2_measurements.html for more information).

        The red lines and symbols represent the monthly mean values, centered on the middle of each month. The black lines and symbols
        represent the same, after correction for the average seasonal cycle. The latter is determined as a moving average of SEVEN adjacent
        seasonal cycles centered on the month to be corrected, except for the first and last THREE and one-half years of the record, where the
        seasonal cycle has been averaged over the first and last SEVEN years, respectively.

        The vertical bars on the black lines of the first graph show the uncertainty of each monthly mean based on the observed variability of CO2
        in different weather systems as they go past the top of Mauna Loa. This is manifest in the deviations of daily means from a smooth curve
        that follows the seasonal cycle [Thoning, 1989]. We take into account that successive daily means are not fully independent, the CO2
        deviation on most days has some similarity to that of the previous day. If there is a missing month, its interpolated value is shown in blue.

        The last year of data are still preliminary, pending recalibrations of reference gases and other quality control checks. Data are reported as
        a dry air mole fraction defined as the number of molecules of carbon dioxide divided by the number of all molecules in air, including CO2
        itself, after water vapor has been removed. The mole fraction is expressed as parts per million (ppm). Example: 0.000400 is expressed as
        400 ppm.

        The Mauna Loa data are being obtained at an altitude of 3400 m in the northern subtropics, and may not be the same as the globally
        averaged CO2 concentration at the surface.




         NOTE: Due to the eruption of the Mauna Loa Volcano, measurements from Mauna Loa Observatory were suspended as of Nov. 29, 2022.
         Observations from December 2022 to July 4, 2023 are from a site at the Maunakea Observatories, approximately 21 miles north of the
         Mauna Loa Observatory. Mauna Loa observations resumed in July 2023.




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7/11/25, 6:23 PM                                                         Trends in CO2 - NOAA Global Monitoring Laboratory
                                         Case 2:25-cv-00054-DLC    Document 34-2              Filed 07/11/25           Page 120 of 130

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Case 2:25-cv-00054-DLC   Document 34-2   Filed 07/11/25   Page 121 of 130




                         EXHIBIT F
7/11/25, 8:09 PM                                               Climate Change - NASA Science
                   Case 2:25-cv-00054-DLC          Document 34-2           Filed 07/11/25           Page 122 of 130




   Explore This Section




     Climate Change
     From the unique vantage point in space, NASA collects critical long-term observations of our changing
     planet.




            VITAL     SIGNS                                                                                      Show All



            Carbon Dioxide                                        Global Temperature                                        M

                   431         parts per million
                                                                        1.5         °C since preindustrial




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https://science.nasa.gov/climate-change/                                                                                        1/9
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                   Case 2:25-cv-00054-DLC         Document 34-2           Filed 07/11/25      Page 123 of 130




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7/11/25, 8:09 PM                                                      Climate Change - NASA Science
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                         Earth Series: The Ocean, Now in Full Color




       Evidence             Causes            Effects

       How Do We Know Climate Change is Real?
       There is unequivocal evidence that Earth is warming at an unprecedented rate. Human activity is the principal cause.

       Earth-orbiting satellites and new technologies have helped scientists see the big picture, collecting many
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7/11/25, 8:09 PM                                                    Climate Change - NASA Science
                   Case 2:25-cv-00054-DLC             Document 34-2             Filed 07/11/25      Page 126 of 130




         Images of Change
         Before-and-after images of Earth.


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                                 Climate Time Machine
                                 Climate change in recent history




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                   Case 2:25-cv-00054-DLC              Document 34-2           Filed 07/11/25        Page 127 of 130


                                 Global Ice Viewer
                                 Climate change’s impact on ice




                                 Multimedia
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     Climate Data Resources

                                 Sea Level
                                 Space     Change Observations from
                                 Established in 2014, this NASA-sponsored team works to improve the
                                 understanding of regional relative sea-level change on a range of
                                 timescales. They work with partners to translate the latest science and
                                 research into actionable information and to communicate how impacts are
                                 increasing at the coast.



                                 NASA Center
                                 (NCCS)      for Climate Simulation
                                 NCCS provides high performance computing for NASA-sponsored
                                 scientists and engineers. The purpose is to enhance NASA capabilities in
                                 Earth science, with an emphasis on weather and climate prediction, and to
                                 enable future scientific discoveries that will benefit humankind.



                                 GISS Surface Temperature Analysis
                                 (GISTEMP)
                                 NASA’s Goddard Institute of Space Studies assembles one of the world's
                                 most trusted global temperature records, using a combination of surface air
                                 temperature data acquired by tens of thousands of meteorological stations,


https://science.nasa.gov/climate-change/                                                                               6/9
7/11/25, 8:09 PM                                                     Climate Change - NASA Science
                   Case 2:25-cv-00054-DLC              Document 34-2             Filed 07/11/25      Page 128 of 130
                                 as well as sea surface temperature data from ship- and buoy-based
                                 instruments.



                                 NASA Earth Exchange (NEX)
                                 NEX combines state-of-the-art supercomputing, Earth system modeling,
                                 and NASA remote sensing data feeds to deliver a work environment for
                                 exploring and analyzing terabyte- to petabyte-scale datasets covering large
                                 regions, continents or the globe.



                                 Global Modeling
                                 Office (GMAO)   and Assimilation
                                 GMAO members perform research, develop models and assimilation
                                 systems, and produce quasi-operational products in support of NASA's
                                 missions. The Goddard Earth Observing System" (GEOS) family of models is
                                 used for applications across a wide range of spatial scales, from kilometers
                                 to many tens of kilometers.




     World of Change
     NASA Earth Observatory has produced a collection of image series that show some features of Earth that have
     changed over time due to both natural and human-induced causes.

     Learn More




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7/11/25, 8:09 PM                                                               Climate Change - NASA Science
                   Case 2:25-cv-00054-DLC                       Document 34-2                Filed 07/11/25              Page 129 of 130




 This false-color image, captured by the Landsat 8 satellite, shows Alaska's Columbia Glacier and the surrounding landscape following the more than 20 kilometer
 retreat of the glacier between 1986 and 2019.
 Credit: NASA Earth Observatory




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7/11/25, 8:09 PM                                                Climate Change - NASA Science
                   Case 2:25-cv-00054-DLC           Document 34-2           Filed 07/11/25       Page 130 of 130
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